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                                      Exhibit 1

Exhibit to Second Amended Complaint                     No. 1:18-cv-10506-ADB
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             A               B                 C               D             E                    F             G                                                                              H
     Complaint Date   Consumer Address, Consumer         Consumer Age Company Name            Company      Company Complaint Info Comments
1                     City              Address, State   range                                Phone,       Phone,
                                        Code                                                  Area Code    Number
     o                Ottawa            IL               60 - 64        LIBERTY POWER         312          4488590    I was contacted TWICE by LIBERTY POWER1). 09/06/2013 @ 5:06 PM2). 09/10/2013 @ 11:13 AMI called back and got a
                                                                                                                      &quot;receptionist&quot; (girl claimed this role) and she said they were calling from a CALL CENTER IN CALIFORNIA and that they
                                                                                                                      SERVICE CALIFORNIA, ILLINOIS, DELAWARE, ETC.CA SEC'Y of STATE shows this company SUSPENDED IN CALIFORNIA?The
2                                                                                                                     address of a subjective person who may have been solicited to make this approx 175th call this year to me is at 3023 N. Clark Street;
                                                                                                                      Chicago, IL. He is associated with N. American Aviation, same company as one of my believed solicitors, ATTORNEY, STEVEN M.
                                                                                                                      ROGERS who also has another association in this building to ATTORNEY STEVEN M. ROGERS; e.g., SINGLE SOURCE....This guy
                                                                                                                      needs to leave me alone; quit stalking me. He's been doing it for 17 years Other-Other Update
3    09/18/2013       Aledo             IL               70 - 79        Liberty Power         309          3627035    Consumer is calling to file a complaint against Liberty Power. Calling to get her to change her power company.
     01/10/2014       Chicago           IL               50 - 59        Liberty Power         954          4897148    Consumer states that he is receiving unwanted calls from Liberty Power, offering him utility services. Consumer has informed the
4
                                                                                                                      company that he is not interested and has asked them to stop calling but, the calls have continued.
     01/22/2014       New Baden         IL               70 - 79        Liberty Power         618          2410498    Consumer states that someone called her from Liberty Power to offer a service and asked her for her existing account number from
                                                                                                                      Ameran. Consumer states that they continue to call her after she asked them to stop. UPDATE 01.15.2014 Consumer reports that she is
5                                                                                                                     still receiving calls from the same company. Consumer reports that they have been told to discontinue calling but continue calling.
                                                                                                                      Consumer reports that they believe it to be a scam. ANELSON UPDATE: 1/22/14 Consumer called back to report that the calls from
                                                                                                                      Liberty Power continue. NLazar.
     01/23/2014       Bethesda          MD               70 - 79        Liberty Power         866          7693799    On September 19, a representative from Liberty Power Corporation (hereafter, LPC) named Alex called The World Market and spoke with
                                                                        Corporation                                   the owner, Mr. (b)(6) with the aim of encouraging (b)(6) to become an LPC customer. (b)(6) explained that he already had a contract with
                                                                                                                      a power company, Direct Energy, and that this contract was active through June 2014. (b)(6) told Alex that he would like a quote from
                                                                                                                      Alex so he can compare LPC’s rate to the current rate offered by Direct Energy. Alex assured (b)(6) that he would give him a quote and
                                                                                                                      (b)(6) would be able to choose whether or not to accept LPC’s power. Alex proceeded to sign (b)(6) up for service with LPC and assured
                                                                                                                      (b)(6) that he could cancel his service without any fees. The account number given to (b)(6) is (b)(6). (b)(6), who is 75 years old and for
                                                                                                                      whom English is his second language, proceeded speaking with Alex, believing that he was simply receiving a quote and he did not
                                                                                                                      understand that he was verbally agreeing to sign up for LPC’s services and that this was a legally binding contract. Alex told (b)(6) that
                                                                                                                      he would send him paperwork related to their discussion. On September 21, 2 days after the phone conversation with Alex, (b)(6) called
                                                                                                                      Alex at the phone number he was given (1-877-436-7162, ext. 3859) and told him that he did not receive any paperwork and that he
                                                                                                                      decided not to switch his service from Direct Energy to LPC because Direct Energy’s rate was better. Based on his conversation with
                                                                                                                      Alex, (b)(6) believed he had no obligation to LPC. (b)(6) received a bill from Pepco dated December 3, 2013. The bill noted that Liberty
6                                                                                                                     Power was the power supplier for The World Market. On December 6, 2013, (b)(6) called LPC and explained to them that he believed he
                                                                                                                      was a Direct Energy customer and that he had not intended to switch to LPC and that he called and told the LPC representative that he
                                                                                                                      did not want LPC’s service. (b)(6) then called Direct Energy and explained the situation to them and told them he never intended to
                                                                                                                      switch to LPC and wanted Direct Energy’s services. On December 19, 2013, (b)(6) received a letter from Direct Energy stating that they
                                                                                                                      were now the energy supplier for The World Market. On December 31, 2013, (b)(6) received a letter from LPC stating that he was
                                                                                                                      responsible for an $1881.00 termination fee. On January 7, 2014, (b)(6)’s daughter placed a number of calls to LPC attempting to
                                                                                                                      understand the situation. She spoke with 3 separate people and explained to them that (b)(6) did not understand and was very confused
                                                                                                                      when he spoke with their representative Alex. She requested that they waive the termination fee since (b)(6) is an elderly man, he never
                                                                                                                      received a paper contract from LPC and English is (b)(6)’s second language. Her request was refused. In addition to the $1881.00
                                                                                                                      termination fee, (b)(6) has been billed a total of $1155.48, which he has paid. We are asking for the termination fee to be waived and a
                                                                                                                      refund in the amount of $1155.48 because (b)(6) was not aware that he was signing up for services with LPC. He told the representative
                                                                                                                      from LPC multiple times that he was only interested in a quote, he did not want LPC’s services and he was under a contract with Direct
                                                                                                                      Energy until June 2014. (b)(6) never received any paperwork from LPC outlining the terms of his contract.
     01/24/2014       Lincoln|          IL|              80 and Over|   Liberty Power         866          7693799    The consumer's daughter states that this company Liberty Power out of Florida called her mother and signed her up for changing power.
7
                                                                                                                      She did not understand. Her mother is on the do not call list.
8    b(3);21(f)       b(3);21(f)        b(3);21(f)       b(3);21(f)     b(3);21(f)            b(3);21(f)   b(3);21(f) b(3);21(f)
     04/03/2014       Sewell            NJ               60 - 64        Liberty Power         769          7693799    Signed    1 year contract with Liberty. At end of 1st year Liberty sent new 1 year contract which I signed and returned. Was notified by
                                                                                                                      Liberty soon after that the new contract I signed had wrong rate as the wrong code for my business was used. I had no problem with that
                                                                                                                      and awaited corrected contract which did not come for several months. During the time between end of first contract and getting the new
                                                                                                                      corrected contract Liberty billed me the rate for a non contracted customer. I, however, continued to pay the rate I had under the first
                                                                                                                      contract until I received the new corrected contract. Once I received the new corrected contract I adjusted the payments I made for the
9
                                                                                                                      time between the old contract and the new corrected contract. The adjusted was based on the new corrected rate. Liberty, however,
                                                                                                                      insisted that I pay the non contracted rate I was billed during this period. I refused stating that it was their mistake that caused the lapse
                                                                                                                      between the old and new contract. I paid them the new rate which should have applied immediately after the old contract expired.
                                                                                                                      Eventually they terminated my account for failure to pay the difference and then billed me another $174 for early termination. Other-Other
                                                                                                                      Update
     04/16/2014       Mercer            PA               65 - 69        Liberty Power         866          7693799    We are the American Legion, we got a call from Liberty Power and told we would save money by going with them. We were lied to and it
10                                                                      Holdings LLC                                  is costing a lot more than they said. We tried to cancelle and they want a big fee, according to their contract that we never got. They
                                                                                                                      charged us about $1,364.22 to much over the last 3 months. Other-Other Update
     04/16/2014                                          40 - 49        Liberty Power         877          2899925    They called me repeatedly trying to sell me Liberty Power as a electricity distribution company. They should not be calling me, as my
11
                                                                                                                      phone is on the &quot;do not call List&quot;. Other-Other Update
     04/16/2014       Roulette          PA               60 - 64        Liberty power. 877-                           we have been receiving 1-3 calls per day from (877-289-9925) they ask to speak to the head of the household telling us he is from Liberty
                                                                        289-9925                                      Power and can offer us better electric rates. he has been told numerous times that we are not interested and not to call again. this
12
                                                                                                                      request is totally disregarded by the caller. the caller sounds to be foreign possibly Indian. this can be considered harassment! Other-
                                                                                                                      Other Update
     07/15/2014       Franklin          OH               65 - 69        Liberty Power                      86676997 the consumer said that a person saying that she was from Duke Energy and talked to his wife. they had her sign a contract but it was
13
                                                                                                                      Liberty Power. Duke Energy resinded the contract.
     07/31/2014       Skaneateles       NY               50 - 59        Liberty Power         800          6424272    Consumer states she is getting calls from Liberty Power & she is on the NDNC register. Consumer has asked them to stop calling but
14
                                                                                                                      they still call.
     12/01/2014       Baltimore         MD               80 and Over    Liberty Power         551          4976849    Consumer received a phone call from someone claiming to be from Liberty Power offering him services for a lower price. Consumer was
15
                                                                                                                      being asked for his gas account information and suspects this was a fraudulent phone call.
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              A            B           C             D             E                F       G                                                                                H
     01/12/2015   Deep River      CT       50 - 59       Liberty Power        860       7267903   This company first called, speaking in English, it was a company wanting to get me to switch my power company. They were cold calling.
                                                                                                  I told them that I was not interested, and that my number was on the "Do Not Call" list, and requested that they not call again. They
                                                                                                  proceeded to continue to call at least 3 times a day. I answered the phone on another occasion, and this time someone was speaking in
                                                                                                  Spanish. I told them if they continue to call my number I would file a complaint against them. They apologized, and I did not get a call
                                                                                                  from that number for a few days. Now since after Christmas 2014 to currant time, today 1/12/15 they continue to call but now no-one says
                                                                                                  anything. I called the number back and they answered in spanish so I could not get the name of the company.I just called them again
16
                                                                                                  blocking my number, and was able to get a broken english speaking person and asked the name of their company and they told me its
                                                                                                  Liberty Power, I told him that I had requested they stop calling my number, and yet they continue to call, and now when they call and I
                                                                                                  answer they do not say anything. He told me that it is because they have to many clients to speak at the time. I told him, I am sorry, Your
                                                                                                  company Calls My Number and then refuses to speak, it is Not because your to busy to talk, your making the call, its called harrassment.
                                                                                                  I again told them Not to call my number. And also told them I was filing this complaint. I was unable to get the persons name at that time
                                                                                                  either.
17 01/14/2015     Antonia         CT       50 - 59       Liberty Power        860       7267903   Consumer called to report that she is getting telemarketing calls and the consumer is registered on the NDNC List.
18 01/15/2015     West hartford   CT       60 - 64       Liberty power                            I am on the do not call list and still recieve these calls all the time. Other-Other Update
   02/05/2015     Boston          MA       20 - 29       Liberty Power Corp   186       6769379   A representative claiming to be apart of eversource made me sign a contract to fix my rate but at the end i realized that it was a liberty
19                                                                                                power corp to change my electric bill. It was 2 people who pressured me to sign the contract claiming they were representing NSTAR's
                                                                                                  takeover. For me to find out later that it was eversource. I was contacted earlier today by a door-to-door rep Other-Other Update
     03/05/2015   Joliet          IL       20 - 29       Liberty Power                            Consumer states someone came to her home offering her cheaper services then her existing service provider. Consumer states her
                                                                                                  boyfriend signed up with this company but later found out he cannot cancel for at least four years. Consumer was also told it would be a
20
                                                                                                  charge to transfer her service to a different location as well. Consumer states the company won't give her any information about her
                                                                                                  service because it is not in her name.
     03/12/2015   Jamaica Plain   MA       30 - 39       Liberty Power        123       4567890   Representatives who are likely scammers are arriving at our door periodically to request to see our power bills to get us a lower rate from
                                                                                                  NSTAR. Today they claimed to be from Liberty Power. I did not catch their names. We had a similar incident occur 4-6 weeks ago where
21
                                                                                                  the rep had entered our building and arrived at our apartment door requesting to see the power bill. I spoke with the reps today at the
                                                                                                  apartment building front door and did not offer any info.TOPIC:Referrals
     03/28/2015   Brighton        MA       20 - 29       Liberty Power                            Woman came to our door claiming to be from a 3rd party representing the local government to monitor electric utilities now that NStar is
                                                                                                  Eversource. Insisted on being given information on our electric bill, and refused to leave when asked. We are now signed up for Liberty
22
                                                                                                  Power, which is not allowing us to cancel immediately, even though the contract my husband signed says we can cancel at any
                                                                                                  time.TOPIC:Referrals
     04/08/2015                                          Liberty Power                            The consumer called to report that he is receiving calls from an individual claiming to be from Liberty Power. The consumer is on the
23
                                                                                                  DNCR
     05/13/2015   Skokie          IL       70 - 79       Liberty Power        866       7693799   Consumer states that she received a phone call from someone claiming to be with Liberty Power asking if she wanted to switch over to
24
                                                                                                  get a lower rate of her electricity bill. Consumer started to ask the caller questions and the caller hung up.
     06/17/2015   Palatine        IL       30 - 39       Liberty Power        866       7693799   This company has quite an extensive listing of complaints with the Better Business Bureau, so you may have them on record already. In
                                                         Corporation                              case not, an Indian Female came to my parents apartment at 2100 hours and insisted that she "was" their service provider and was very
                                                                                                  persistent on seeing a copy of their current power/electric bill. When my mother was reluctant, claiming she had doubts of her affiliation;
                                                                                                  this unknown individual became increasingly persistant and claimed that seeing this bill was important and that she had made several
                                                                                                  other attempts to contact my parents prior. At this point my mother told her point blank; if she doesn't leave, the police will be notified; at
                                                                                                  which point she left. Before, Even, if she didn't make a false claim of being affiliated with our power company; their complex has blatently
25
                                                                                                  posted signs saying "no solicitors" are allowed on premise. Nothing about this companies tactics seems on the level to me and here are
                                                                                                  two additional articles to back-up these claims.... Website #1: http://www.bbb.org/south-east-florida/business-reviews/electric-
                                                                                                  companies/liberty-power-in-fort-lau derdale-fl-23005899 Website #2: http://nypost.com/2013/03/14/state-to-crack-down-on-deceptive-
                                                                                                  electricity-seller-officials/ There is no compensation necessary, as my parents didn't give them any information/money, but I strongly
                                                                                                  believe you should investigate their business practices. Not even looking at my parents situation, but rather their track record with the
                                                                                                  Better Business Bureau; it's very apparent to me that this company is not conducting business on the level.
     08/13/2015   Allston         MA       30 - 39       Liberty Power        186       6769379   Two men somehow got through the front door of my apartment complex and were going door to door, identifying themselves as
                                                                                                  representatives from the municipality of Boston helping citizens save money on their electric bills. They claimed a law entitled people to
                                                                                                  lock in a lower rate as long as the customer opted into the government sponsored program, aimed at protecting low income households
                                                                                                  (like my own). After asking them questions for over an hour (where they lied multiple times that they worked for the government, and not
26                                                                                                a private entity - Liberty Power) I became exhausted and signed their form. After they left, I went online and read about the Liberty Power
                                                                                                  scam of lying and coercision to get people to sign a contract where customers get stuck at a fixed, higher rate for electricity. I asked
                                                                                                  multiple times if I was signing a contract and was told explicitly no, another lie on their part. These people really need to be stopped as
                                                                                                  they target low income and immigrant households. I have higher level education and english is my native language, and yet I still
                                                                                                  succumbed to their scam!TOPIC:Referrals
     08/22/2015                                          Liberty Power                            I have received a call EVERY DAY from the same number - 6467796616. The first call was on 8/10/2015, I answered and the caller
                                                                                                  identified himself from &quot;Liberty Power.&quot; My response was &quot;I am not interested.&quot; &quot;Do not call me again.&quot;
27                                                                                                &quot;Take me off you call list.&quot; Since then, I have received a call EVERY SINGLE DAY from the same number, I have not
                                                                                                  answered any. I have received a call early in the morning, late at night, on the weekends, in the middle of day. Other-Other Update

     10/28/2015   Worcester       MA       20 - 29       Liberty power                            I was approached by two representatives of Liberty Power ( with Identificstion) they asked to see a copy of my electricity bill.they
                                                                                                  promised to offer a &quot;price protection&quot; free for 24 months.they took my bill and entered my person details.it was later that i
                                                                                                  realized the tarrif per KWH is way high than what i normally pay.I was deceived by the sales person to change my supplier to
28
                                                                                                  LibertyPower and sign a contract.I am a student who recently moved to USA and I am not aware of the electrcity billing works in the US
                                                                                                  ( supply vs distribution) . I really think some action should be taken against these practices being followed by liberty Power and their sales
                                                                                                  representative. Other-Other Update
     11/07/2015   Chicago         IL       30 - 39       Liberty power                            was changed electric carriers, I was sent an email of a change and apparently a letter of my switch came to my apartment Because my
29                                                                                                service was disconnected, my lease was cancelled and now im forced to move. I don't have a job and i may have to move into a shelter
                                                                                                  because i have no place to go.TOPIC:Referrals
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              A                B        C          D                E                  F       G                                                                               H
     06/24/2016   Crest Hill       IL       80 and Over   Liberty Power          866       7693799   My name is (b)(6), I'm (b)(6) Neighbor, she is 89 years old and hard of hearing. Liberty Power knocked on her door, she usually doesn't
                                                                                                     answer the door, I don't know why she did this time, she must have been out there quite a while and I did n't hear her, because by the
                                                                                                     time I opened my door she was signing the IPAD. I asked the rep. who he was, he proceeded to tell me, first he was sent by ComEd( our
                                                                                                     power supplier) to check our bills to make sure we had the right supplier and he asked for my bill also, I didn't show him mine but I said
                                                                                                     ComEd is my supplier, he asked to see my bill. I asked again who are you, he stated I work for ComED. I told him none of this is true, its
                                                                                                     a scam, i'm going to check with ComEd. He told me while you do that I will check with your other neighbors. That man ran out the door
                                                                                                     faster than you can say I scammed an 89 yo woman.That was on 6/17/16 I can take care of myself, but to scamm an old lady...come on. I
30
                                                                                                     emailed Liberty that night and they apologized and asked for (b)(6) account number with ComEd so they can make sure nothing was put
                                                                                                     thru. That was on 6/20/16.I sent them the information.They emailed me back stating they couldn't find any account for (b)(6). On 6/23/16,
                                                                                                     (b)(6) received a letter from ComEd stating they were notified by Liberty that (b)(6) was switching suppliers. This compant couldn't tell the
                                                                                                     truth if they tried. I called customer service the night of 6/23, I was told if (b)(6) didn't want it she shouldn't have signed for it. I had to
                                                                                                     argue for a good 15 minutes to get them to cancel it, but with a $50 fee. I asked for a supervisor, but was told the supervisor would tell me
                                                                                                     the same thing so I didn't need to speak to one. That agent spoke to (b)(6) to confirm she wanted to cancel, the agent had to keep
                                                                                                     repeating herself because (b)(6) is hard of hearing. There is no excuse for this
     07/29/2016   Milford          MA       20 - 29       Liberty Power          866       7693799   On 7/28/2016 at 7:30pm a Liberty Power sales rep knocked on our door. He asked to see our electric bill and told us we were being
                                                                                                     charged $4.00/kwh by National Grid (in reality its about $0.04). He offered us a fixed rate of $0.138/kwh for 24 months. At the time he had
                                                                                                     the bill and I did not look at it to make sure he was correct. In the middle of the application his tablet froze and he said he needed to get
                                                                                                     his boss to reset it and he would return for my signatures in about 15 minutes. He never returned that night. I called Liberty Power on
31
                                                                                                     7/29/2016 at 8:30am to see if the contract wetn through. It had not showed up in their system. The woman was very understanding and
                                                                                                     sent a cancellation request right away. In 3-5 business days I can check in with them to make sure the service contract was cancelled. If it
                                                                                                     is not then I will consider the fact that it was even submitted criminal, since my signatures would had to have been forged/left off. Other-
                                                                                                     Other Update
     09/20/2016   Worcheter        MA       50 - 59       Liberty Power          866       7693799   The consumer stated that she received something in the mail from Liberty Power for a contract for service. The consumer stated that the
32
                                                                                                     company mailed the consumer a contract with her a signature twice and did not how the company got her information.
     10/24/2016   Silver Spring    MD       20 - 29       Liberty Power Corp.,   866       7693799   For the last 4 years, I have been enrolled with Autopay for my Pepco Bill. Twomonths ago, I saw in my bill and found out that I was signed
                                                          LLC                                        up with LibertyPower Corp as my electricity supplier. I never authorized to be signed up withthem and I am not even aware of that
                                                                                                     company. I never received anycorrespondence from them regarding a contract or acknowledgement. When Irequested a copy of a so
33
                                                                                                     called contract and sign-up confirmation, they cannotprovide any information. All they can say is that a third party sales channel,American
                                                                                                     Efficient Inc., was the one who submitted my name to sign up withthem. And since they no longer work with American Efficient, they
                                                                                                     cannotprovide the information I am requesting. Please see BBB Complaint (b)(6).
     10/27/2016   Spring Valley    IL       80 and Over   Liberty Power Corp     866       7693799   The consumer reports that he is receiving numerous calls from Liberty Power Corp offering him a discount on his utilities bills. The
34
                                                                                                     consumer has declined and told them to stop calling but they continue to call. The consumer is not on the DNC Registry.
     11/01/2016                    CT       40 - 49       Liberty Power Corp     954       7711463   I have filed several complants against this company, and countless others like them... I put my phone number on the donot call list... That
35                                                        LLC                                        hasn't worked either.. There are calling my cell phone now... This is a Goverment phone... filed it with the No call list too.. still getting
                                                                                                     harrassed by them.,..... Can someone tell these morons to stop calling me..... I'm tired of it!
     09/29/2015                    MA       18 - 19       Liberty power                              Guy came to out door and said he could save us money on our electric bill. He said they have lower rates. He had us sign a form for a
36                                                                                                   quote. Than he automatically enrolled us. My electric bill went from $200 to $400. They increased my bill without permission. Company
                                                                                                     name name is. Liberty power. IsVictim:true --- Initial Means of Contact: Unknown
     08/01/2016   HOUSTON          TX       40 - 49       Liberty Power          800       2799048   CFPB Sub product: Other (i.e. phone, health club, etc.) --- CFPB Issue Type: Improper contact or sharing of info | Talked to a third party
                                                          Company                                    about my debt --- What Happened: i was not aware of any moneys owed, Liberty Power waited for 1 year and 5 months before sending
                                                                                                     me any notice of informing me moneys are owed, i not only question the validity of this money, i also question the tactics used, the call
                                                                                                     me on July 26 2016, informing me that moneys were owed, i ask for written details, which i was told was on its way to me, i got a mail on
                                                                                                     on July 27th 2016. i called Liberty Power on July 27th with intent to resolve this and was told the debt was sent to collection, does this not
                                                                                                     violate every single FTC rules, i was not given the opportunity to pay or investigate the validity of this debt, i was sent a letter which is the
                                                                                                     first notification i ever got from Liberty that unless they receive payment in 5 days they would send account to collection agency, they did
                                                                                                     not give 3 day room for Post Office delivery, the letter was not expedited or sent with any delivery confirmation. now they forwarded it
                                                                                                     straight to collection before the 5 days was concluded. this violated FTC rules. if payment request is made, i should be given a decent
37                                                                                                   amount of time to review ad understand the validity of the debt and ask any questions to satisfy their claims these were denied to me. and
                                                                                                     i called same day i received the letter only to be told it was in collections already.i was asked to call on Monday August 1, 2016 to speak
                                                                                                     with a Supervisor so we could clear up any balance if owed.only for supervisor to inform me it has been sent to IC Systems and nothing
                                                                                                     could be done on this account.first of all i never switched my account to Liberty Power, they never had my permission to transfer my
                                                                                                     service, i questions them on how did my service get managed by them and also i transferred back to Power company of choice and now
                                                                                                     it seems they are attempting to penalize me for this, why should i pay a cancellation fee if they fraudulently moved my account to their
                                                                                                     organization, what number was this call from that moved service. was there a recording? anyway i am willing to pay it off just for a
                                                                                                     settlement but i protest and would pursue every legal action if reported to my credit report --- Fair Resolution: not reporting to my credit
                                                                                                     and giving me the opportunity to understand what this is about and avenue to make payment, if found to be legitimate

     01/16/2017   Burlington       MA       40 - 49       Liberty Power                              Knocked on door on MLK holiday, pretended to be from state, offerred lower fixed electricity rates, took down my address, phone number
                                                                                                     and photo of my current bill. Searched online and found them to be a scamming company with very high rates and fees. Browbeating
38
                                                                                                     other neighbors into signing up for contracts with early termination fees and other fees. Please issue cease and desist order.

     01/21/2017   Wilkes Barre     PA       20 - 29       Liberty Power                              A person knocked on my door claiming he needed to see our power bill and needed our personal information to be able to supply us with
                                                                                                     electricity. He claimed he was with Liberty Power and had a jacket with a company logo as well as an ID badge which I could not make
                                                                                                     out. I did not get any personal details about him and did not give out any of our details of our household. He claimed he was not working
                                                                                                     for PPL but that PP&amp;L would need us to give him our info in order to keep our power on. I told him this was fradulent and he
                                                                                                     continued to ensure me he was not going to switch our power over and he simply needed our information to continue our electric service.
                                                                                                     He said Liberty Power was based in Florida and was a reputable company but I have since learned otherwise. I told him to come back
39
                                                                                                     another day at which point he was aggressive in trying to get us to give him information now. I told him no and eventually he left. I feel he
                                                                                                     was fradulent because he tried to say as little as possible and said PPL had sent him which I confirmed with PP&amp;L that they had not.
                                                                                                     He made it seem like he was with PPL until I directly asked him if he worked for them, noticing his jacket. He was a average height black
                                                                                                     man with no significant details I can recall. His jacket was navy blue and he did have an ID badge in an orange holder with a black string
                                                                                                     around his neck. He also had a gold watch on. He talked very quietly and raspy as if to not let other people hear him. Other-Other Update
                                        Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 7 of 23
              A                B        C             D             E                  F       G                                                                                H
     01/31/2017   Winthrop         MA       30 - 39       Liberty Power Corp    866        7693799   This company sends door to door representatives advertising cheap electricity rates trying to make you switch power suppliers. The first
                                                                                                     time the deal looked good. I called my utility provider and they said if that's what they are offering you should take advantage of it.
                                                                                                     However, the price they quoted was not the one they put on the contract when I received it a month later. I cancelled the service promptly,
                                                                                                     they waived their cancellation fee. A few months latter I find out that one of their reps had signed my name on another contract without
40                                                                                                   my knowledge or consent. Called the company again, they cancelled and assured me that would not happen again. Today they had sent
                                                                                                     another agent who talked to my father and tried to make him sign a consent form, although he didn't understand them. My father didn't
                                                                                                     sign anything. I am worried that I would find myself again into a contract that I didn't want or consent to. I plan on moving in the next few
                                                                                                     months, and if they sign on a contract without my knowledge I'm afraid I wouldn't know about it and it will affect my credit. Please help me
                                                                                                     with this company. This is very frustrating. Other-Other Update
     02/15/2017   Carrollton       IL       30 - 39       Liberty Power                              A door to door sales person led my wife to believe he was with ameren and checking on our rate plan,ade her sign up to lock in a rate for
                                                                                                     power usage. Did not mention he was with Liberty Power until after she signed a contract. She intialed her name even though my name is
                                                                                                     on the ameren bill. Then the salesman proceeded to ask for my phone which he then used to call and verify with Liberty Power. He
41                                                                                                   pressed all of the buttons and had my phone in his hands. After doing some research we do not want to be in a contract with anyone. We
                                                                                                     would like to continue service with Ameren only. When we called this Liberty Power Company they are telling us we are in a contract and
                                                                                                     will have to pay to cancel with them. The entire time I feel like we were being pushed into thinking we were locking in a rate with Ameren.
                                                                                                     Please contact Liberty Power Corp in Illinois. They are using deceptive practices to reel in customers. Other-Other Update
     03/28/2017   New Haven        CT       20 - 29       Liberty Power         646        5938644   Consumer is receiving calls from someone representing Liberty Power but they will not leave a message. When the consumer calls them
42
                                                                                                     back, he asks them to stop calling, but they continue. Consumer is on the DNCR.
     04/04/2017   Glastonbury      CT                     Liberty Power         877        2899925   The caller ID shows incoming call "From 800 Service" with phone number of 877-289-9925. They have called every day for the past
                                                                                                     month and I have repeatedly asked them to stop! I spoke to someone 3 times who assures me my phone number would be removed and
43                                                                                                   the calls would stop. This a rented unit and we don't get to choose our power supplier which I have also notified the company. These
                                                                                                     calls need to be stopped as this is illegal practice by this company. The government needs to make the phone companies more
                                                                                                     accountable for preventing fraud and scams to consumers as they are providing a service.
     04/04/2017                                           Liberty Power         866        7693799   On the evening of Tuesday, April 4, 2017, a man named William Jones with Liberty Power knocked on my door multiple times and would
                                                                                                     not leave until I opened the door. He claimed that the city gave Liberty Power permission to be doing what he was doing. He said that
                                                                                                     Liberty Power was going to guarantee my electicity rate for two years and that he needed my current account to do it. I was very reluctant
                                                                                                     to provide him this information. I even asked to see the permit. He showed it to me. He sid that Ameren would send me a confirmation
                                                                                                     letter in the mail and two gift cards. He told me this after I initialed and signed. I told him multiple times that I was not comfortable with
                                                                                                     providing my information and even asked if there was a way I could call Liberty Power and complete the process myself. He would not
                                                                                                     leave my apartment until I agreed to initial three boxes and sign. I initialed differently and did not sign my complete name. I did not pay
                                                                                                     and he did not ask me to pay. He did say that there would be a $50 cancelation fee. Once he finally left my apartment, I tried to call
44
                                                                                                     Ameren, but it was after their customer service hours so I emailed them. I also went outside to look for some sort of official vehicle, but
                                                                                                     there was none. It is alarming that they were in my building because it has a locked entrance. I also researched the company online and
                                                                                                     read only negative reviews with similar experiences. I felt like I had no out while I was in the situation. I was so flustered and frustrated
                                                                                                     that he was not leaving that I did not think to just be rude and shut the door in his face. In general I feel like Liberty Power is taking
                                                                                                     advantage of young adults who need jobs by telling them that they will be doing residents good. I also feel as though Liberty Power is
                                                                                                     taking advantage of residents who are trying to be good citizens and give everyone a chance as well as people who are not fluent in the
                                                                                                     English language. For these reasons, I feel Liberty Power is not operating ethically. I understand that companies need to make a profit,
                                                                                                     but this needs to be done in a moral and ethical way. Other-Other Update
     04/14/2017   Glastonbury      CT                     Liberty Power         877        2899925   We received a phone call on 3:42 pm to our phone (b)(6) from caller id showing 18772899925. Upon answering and repeatedly saying
                                                                                                     hello, there was dead air and no one responded. The line was then disconnected on their end. I called the number back and was
                                                                                                     redirected to a general voice mail box. I left a message for the third time to request this company remove our phone number from their
                                                                                                     calling sequence. This company has repeatedly called our same phone line multiple times a day over the past month and half. In
                                                                                                     addition to the 3 voice messages I've left to remove our number, I have also called back and spoken to a person twice to tell them they
45                                                                                                   MUST remove our number. Both times I was assured by the representative that our phone number would be removed. But yet again,
                                                                                                     they are still calling. We are a business and we lease our space so we are not in charge of selecting who our power supplier is. The
                                                                                                     company has been told this hence why they have NO BUSINESS calling us. Furthermore, this company is calling a phone number that
                                                                                                     has been taken out of public distribution for 5 years and is used solely for internal purposes so they further have no business calling our
                                                                                                     number. PLEASE HOLD LIBERTY POWER ACCOUNTABLE FOR THEIR ILLEGAL SOLICITATION PRACTICES. Any further calls are
                                                                                                     deemed harassment and they need to be made to stop making illegal calls.
     04/14/2017   Pekin            IL       80 and Over   Liberty power holdings 866       7693799   This utility supplier keeps switching our Ameren account supply choice to them. We realized when we received a supplier choice
                                                                                                     notification from Ameren. We made a phone call to Liberty Power, who indicated we have a contract with them. We do not. When we
46                                                                                                   switch our supplier choice back to Ameren, it must trigger something to Liberty, who proceeds to call and aggressively intimidate us.
                                                                                                     When we have asked for a copy of the contract they claim to have, and they refuse to provide and have hung up on us. The utility
                                                                                                     account belongs to an elderly person.
     04/24/2017   Southington      CT       65 - 69       Liberty Power Holding 866        7693799   The consumer is reporting received a phone call and they told the consumer they could lower his electric bill. The consumer said that they
47                                                        LLC                                        offer less money for the bill. They charged the consumer more money. The consumer said the company is called Liberty Power Holding
                                                                                                     LLC.
     08/31/2017   Bronx            NY       20 - 29       Liberty Power         973        4196332   Consumer states he received a call from Liberty Power of Conn Edison and call at least 2 a day. They are making a sales pitch. They are
48
                                                                                                     asking for information of the party that holds this account. UPDATE: 8/31/17 Consumer provided ph#'s. rbaconsr.
     06/26/2017   Boston           MA       20 - 29       Liberty Power                              Consumer reports multiple unknown utility companies called Liberty Tower have been coming to his door attempting to sign consumer up
49
                                                                                                     for an alternative energy sources.
     06/28/2017   Acton            MA       30 - 39       Liberty Power         866        7693799   I received a knock on my door at around 8pm on Tuesday, June 27. There was a woman, Katrina Busser, with a Liberty Power company
                                                                                                     name badge and an ipad. She said she was from Liberty Power and wanted to make sure I was signed up for clean energy. She asked to
                                                                                                     see my electric bill to check that I was using clean energy. She said that I wasn't and then she proceeded to enter my information in her
                                                                                                     ipad, all the while talking to me politely and keeping up friendly chit chat. I was not wary of her as she had a name badge and a pamphlet
                                                                                                     with a phone number and website information, I had no idea that it was false information. After she entered my information in her ipad she
                                                                                                     proceeded to call a customer service number to make sure that I was signed up. She went through a lot of prompts on her phone and
                                                                                                     asked me to respond to a few of the prompts. The she asked me to sign three different times to make sure that I was getting the correct
                                                                                                     energy supply. I kept asking her if I was going to get a bill from the company. She kept insisting that I was only signing up for clean energy
50
                                                                                                     and that all my information and billing would still come from Eversource. She even showed me a website with company information when
                                                                                                     I asked. Now I know that it was a false website. She also mentioned that by signing up for clean energy, the way I would be charged for
                                                                                                     electric would not change with the fluctuating market. She said I was locked in for 24 months at a fixed rate. She mentioned that if I
                                                                                                     moved then contact them and they will make sure I am still receiving clean energy. She also mentioned that by signing up I would get a
                                                                                                     choice of a $25 gift card to Target, Amazon, or a Visa gift card. When I gave her my email address she said that I would be receiving an
                                                                                                     email with the details of the plan and I should check my inbox when she left. She also said that I was going to get information in the mail
                                                                                                     too. She said that nothing was going to change with my Eversource bill except now my energy will be coming from wind rather than a
                                                                                                     power plant.
     08/15/2017   Glens Falls      NY       80 and Over   Liberty Power                              Consumer is on the DNCR, but is still receiving calls from Liberty Power wanting to get him to switch to their service. He's told them to
51
                                                                                                     stop, but they continue to call him. The Caller ID doesn't show their number.
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              A          B                C             D             E                  F        G                                                                               H
     08/23/2017   CYPRESS            TX       40 - 49       Liberty Power Corp|   |918       |7867071   CFPB Sub product: Other debt --- CFPB Issue Type: Attempts to collect debt not owed | Debt was result of identity theft --- What
                                                            Federal Trade                               Happened: it came to my knowledge that an account was opened in my name with Liberty Power Corp, at this time i had and still do have
52                                                          Commission                                  an account with Reliant Energy, so i called my Utility Company and informed them i did not give anyone power to transfer my electricity
                                                                                                        and this was fix, so i thought until i started getting calls from Collection Agents. --- Fair Resolution: close out account and not report to my
                                                                                                        credit as this would be a violation of fair credit reporting act
     09/21/2017   Streetsboro        OH       30 - 39       Liberty Power         866        7693799    Consumer states that she wanted to make a report against an individual who came to her stating to be from Liberty Power telling her they
53
                                                                                                        can give her a quote. Consumer shoed her a bill and the individual took it down. Consumer believes it was a scam.
     10/05/2017   Chicago            IL       30 - 39       Liberty Power         866        7693799    Two men from Liberty Power knocked on my apartment door and told me I needed to show them my ComEd bill so that they could verify
                                                                                                        my service. Since I live in a secured building, I believe that they were official. I questioned it several times and they said I did not have a
                                                                                                        choice, they needed to verify my bill for ComEd. When I gave it to them, I asked them many times to explain what they needed and why,
                                                                                                        but I did not understand. They seemed to keep changing what they said they needed from me. They had me sign a tablet, telling me that
                                                                                                        nothing about my service or billing would change and that it was protecting my service to ensure the cost per kilowatt did not increase
54
                                                                                                        over time. I said I didn't care and didn't want anything to change about my service or billing. They said I needed to do this anyway. They
                                                                                                        asked a lot more questions about my contact information and then had me fill out a survey confirming that they did their job. I was so
                                                                                                        confused that I contacted my landlord, who then told me they were solictiors, they are not with ComEd and they are not allowed in the
                                                                                                        building. Now I am trying to find out what they are doing with my information and if they are changing my service. This was a total scam
                                                                                                        that I did not understand until someone sent me an article about it afterward. Other-Other Update
     10/12/2017   Garfield Heights   OH       40 - 49       Liberty Power                               a young man came to my door at 7:35 or so. he was acting like he was with the power company i signed up for at my apartment. he
                                                                                                        stated he wanted to see if things were correct on my bill. he was wearing a Liberty Power polo and name tag. we have First Energy. i did
55
                                                                                                        not show him my bill. he stated when i signed up i was supposed to get a gift card for pizza hut. i told him i did not want the card. Other-
                                                                                                        Other Update
     10/13/2017   Waban              MA       80 and Over   Liberty Power         866        7693799    Consumer received a phone call stating to be from Liberty Power offering utility offering a lower rate. Consumer refused what he is
56                                                                                                      currently paying and they started to provide a plan higher than what he is currently paying. Consumer was sent a plan description
                                                                                                        enrollment by mail, consumer did not comply.
     11/07/2017                      IL                     Liberty Power         510        7672676    Indian accent telling you that your electric rate is locked in. Also offering a $200 Visa gift card. IsVictim:true --- Initial Means of Contact:
57
                                                                                                        Unknown
     11/17/2017   Natick             MA       65 - 69       Liberty Power         877        3824357    consumer reported that Liberty Power has ben contacted her asking her to change her service to them, they have also posed as her
58
                                                                                                        service provider which is Ever Source stating that they will be sending her a gift card.
     12/29/2014   BRIDGEPORT         PA                     Liberty Power         866        7693799    Note: Please note that the Consumer Sentinel Network cannot presently categorize this data contributor's Product Service Code. The
                                                                                                        comments field may have a description of the good or service offered to the consumer. --- Received letter from Liberty Power with a copy
                                                                                                        of my forged signature stating I agreed to switch energy companies. I have never had contact with them. On 12/13/14 I received a letter
                                                                                                        from Liberty Power stating I signed a contract to switch over power companies. The letter has my forged signature (which is misspelled)
                                                                                                        dated 12/5/14 at 2:18pm. I was at work at this time and date. I am a teacher and have documentation of this. I never had contact with this
                                                                                                        company and did not give them permission to switch over my energy/power services/supplier. My name was also misspelled on the
                                                                                                        contract several times. On 12/14/14 I contacted local Bridgeport, PA police and on 12/15/14 made a formal police complaint. When I
                                                                                                        attempted to contact the company that same week I was cut off four times. When I selected the option to pay my bill I was directed to a
59
                                                                                                        representative and when asked to speak to a supervisor I was placed on hold for 30 minutes and was disconnected again. Bridgeport
                                                                                                        officer Bailey stated when he attempted to contact the company he was unsuccessful and after further research it seems the company
                                                                                                        has many complaints against them. I was then advised to contact BBB and the Attorney General. --- Consumer desired outcome: Cancel
                                                                                                        my illegitimate/fraudulent contact with zero penalties and free credit monitoring services for one year due to the fact my signature was
                                                                                                        forged. I believe the solicitor who may have been going door to door to homes should be held accountable for forging my signature. ---
                                                                                                        The action taken by other agencies: made local police report; police attempted to make contact with company and was unsuccessful; was
                                                                                                        advised to contact AG and BBB --- Products Purchased: received a contract with my forged signature, did not give company permission
                                                                                                        to switch my energy supplier --- Consumer Age Range: 18 - 34
     12/20/2017   Greenwich          CT       50 - 59       Liberty Power         866        7693799    consumer reported that he generally deals with an electric company, he recently switched to Liberty Power Holding as his supplier, the
60                                                          Holdings LLC                                company had stated they would charge him less then the service provider he had before, consumer has been receiving bills and the rate
                                                                                                        is not cheaper.
     01/12/2018   Boston             MA       70 - 79       Liberty Power         866        7693799    Consumer states that he rcv'd a call from Liberty Power offering utility services. He later discovered that this may not be legitimate.
61                                                                                                      Liberty Power has no record of a call or the agent he spoke with. UPDATE 01/12/2018: The consumer called to update their complaint.
                                                                                                        GJONES
     01/19/2018   Elyria             OH       60 - 64       Liberty Power                               Consumer states someone from the company Liberty Power came to his trying to get him to sign up for service. Consumer states he
62                                                                                                      declined the offer and the individual told him thanks for wasting his time. Consumer feels Liberty Power should not be soliciting their
                                                                                                        service.
     04/03/2018                      IL       60 - 64       Liberty Power         866        7693799    I am writing on behalf of my son. He lives in a locked apartment building. Yesterday some sales (didn't realize this at the time) person
                                                                                                        got in the building and knocked on his apartment door. He could hardly understand the accent. They asked to see his ComEd bill and got
                                                                                                        his account number and address from his own bill. A very deceptive sales person, Alexandra Chiseliov told him ComEd is still delivering
                                                                                                        the electricity but they needed his signature on this device they were holding. They even tape recorded him saying he understood what
                                                                                                        he was doing. Obviously, he didn't. He then called me. While on the phone, this new company Liberty Power sent him the contract he
63
                                                                                                        just signed. He had no idea he was signing with a new company and cancelling his current company, ComEd. Liberty should be
                                                                                                        ashamed of themselves, going around soliciting unknowing people. I would like to know how they even got into the LOCKED building.
                                                                                                        My son is calling today to try to rescind the contract, if he can get a hold of someone. In the meantime, I have looked up this company
                                                                                                        and there are many complaints about Liberty Power and their deceptive practices. If you have any advice on what other steps should be
                                                                                                        taken, please let me know. Thank you. Other-Other Update
                                                          Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 9 of 23
          A           B              C         D               E          F          G                                                                                                 H
     Phone In    Consumer      Consumer   Company         Company     Company   Other       Other Information Comments
     Registry?   Address,      Address,   Name            Phone, Area Phone,    Information
1
                 City          State                      Code        Number    Complaint
                                                                                Date
     Y                         MA         Liberty Power 978         2160136     04/03/2018 They called us at least 10 times a day, I called them 3 times and asked to remove our number they advised us that they will but 10 minutes later would call us back. --- Subject
2
                                          Company                                           matter of the call: Energy, solar, & utilities
     Y           Palos Hills   IL         Liberty Power 000         0000000     03/28/2018 After repeatedly telling these callers, telling them we are not interested, they keep calling - on March 27 they called ten times! Annoying does not describe the calls - and when
                                                                                            we've tried to reason with them, we barely understand them anyway. When asking for a name, the response was "Mike." Our understanding is that the do not call registry
3
                                                                                            prevents these calls. Why do they keep happening. Ten calls on March 27 is not the only day - it was the worst day. We have received these calls over a period of months.
                                                                                            Please please make them stop!!! --- Subject matter of the call: Energy, solar, & utilities
4    Y           Tiverton      RI         Liberty Power   866       7693799     03/27/2018
5    Y                         NJ         Liberty Power   973       5590796     03/22/2018
6    N                         NY         liberty power   718       3424534     03/19/2018 they use several phone numbers to make their calls --- Subject matter of the call: Energy, solar, & utilities
7    N                         NY         liberty power   718       3424534     03/19/2018 they use several phone numbers to make their calls --- Subject matter of the call: Energy, solar, & utilities
     Y           Springfield   MA         Liberty Power   954       7711463     03/16/2018 These people have been called me every day for the last month. I asked him not to call me anymore. I'm elderly and sick. These nuisance calls a very aggravating --- Subject
8
                                                                                            matter of the call: Energy, solar, & utilities
9    Y           Rockford      IL         Liberty Power 954         7711463     03/13/2018 Other Information Comments
     N                         IL         Liberty Power 630         3586242     03/12/2018 Company calls at least 4 times a week or even 4 times on the same day. It keeps showing up on my iPhone as a possible "scammer" so I do not pick up , but an automatic
10                                        Holdings LLC                                      voice message keeps leaving me messages from that states they are Liberty Power Holdings LLC company. Tried blocking the company but they keep calling from different
                                                                                            numbers. Please help. --- Subject matter of the call: Energy, solar, & utilities
11 Y             Crofton       MD         Liberty Power                         03/07/2018 Subject matter of the call: Energy, solar, & utilities
12 Y             Morrison      IL         Liberty Power 954         7711463     03/06/2018 They call daily for about the last month. I answered once and told them to quit calling, but they continue to call. --- Subject matter of the call: Energy, solar, & utilities
13 N             stamford      CT         liberty power 954         7711463     02/27/2018 Subject matter of the call: Energy, solar, & utilities
   Y             Budd Lake     NJ         Liberty power                         02/27/2018 I gave them information about my account and they were offering less payments for me. I had just been out of the hospital and not thinking straight. They called me 3 times to
                                                                                            say yes to go through with the transfer and offered me a $200 visa. Someone in the background was yelling say yes and when I hung up, they called 3times while I was at the
                                                                                            doctor’s. My friend even witnessed that. I blocked them for the rest of the day and checked out their history and they are known to get customers to lock in 24 months and
14                                                                                          charge higher prices. That is exactly what happened with me. I would have been locked in for 24 mos. , but PS&G still we’re responsible for services. What company does
                                                                                            that? I unblocked this morning and sure enough, they called and I heard someone in the background saying,”say yes”. I told them I say no to anything from their company
                                                                                            and do not allow them to be my new company. I will call PSE&G to make sure the switch does not happen. Not Approved! --- Subject matter of the call: Switching over to liberty
                                                                                            power and receive $200
     Y           Budd Lake     NJ         Liberty power                         02/24/2018 I gave them information about my account and they were offering less payments for me. I had just been out of the hospital and not thinking straight. They called me 3 times to
                                                                                            say yes to go through with the transfer and offered me a $200 visa. Someone in the background was yelling say yes and when I hung up, they called 3times while I was at the
                                                                                            doctor’s. My friend even witnessed that. I blocked them for the rest of the day and checked out their history and they are known to get customers to lock in 24 months and
15                                                                                          charge higher prices. That is exactly what happened with me. I would have been locked in for 24 mos. , but PS&G still we’re responsible for services. What company does
                                                                                            that? I unblocked this morning and sure enough, they called and I heard someone in the background saying,”say yes”. I told them I say no to anything from their company
                                                                                            and do not allow them to be my new company. I will call PSE&G to make sure the switch does not happen. Not Approved! --- Subject matter of the call: Switching over to liberty
                                                                                            power and receive $200
     Y           Trenton       IL         Liberty Power 954         7711463     02/16/2018 This energy supplier, Liberty Power, has been calling me constantly as of November/December 2017. I have not NOT confirmed them as my energy supplier. I have a caller ID
                                                                                            in my home phone and an answering machine. They have not left one message, at any time, in my answering machine. I have called Ameren Illinois today for information
                                                                                            about this situation. They gave me some tips and to call "Do Not Call List" with a phone number for complaints. I have had several different energy suppliers come up to my
16
                                                                                            door to apply me into their supplier at a cheaper and better energy rate. I have told them I am NOT interested, but they continue to insist. That is why I called Ammeren Illinois
                                                                                            today to put to a stop to this annoying situation. I do not want Liberty Power to call me again starting today. I have NOT confirmed them as my energy supplier all this time. ---
                                                                                            Subject matter of the call: Energy, solar, & utilities
     Y           Mechanicsb PA            Liberty Power 954         7711463     02/15/2018 Liberty Power calls EVERY day, sometimes twice. This has been going on for months. Thanks for your help. --- Subject matter of the call: Dropped call or no message
17
                 urg
     Y           watertown  MA            Liberty Power   857       2457945     02/14/2018   Subject matter of the call: Energy, solar, & utilities
18
                                          Company
     Y           watertown     MA         Liberty Power   857       2457945     02/09/2018   Subject matter of the call: Energy, solar, & utilities
19
                                          Company
     Y           watertown     MA         Liberty Power   857       2457945     02/09/2018   Subject matter of the call: Energy, solar, & utilities
20
                                          Company
     Y                         MA         Liberty Power   954       7711463     01/30/2018   This utility has called my everyday for 6 months. Nomorobo stops the call from coming through, but it hasn't stopped them from calling. I also have it blocked with Xfinity and
21
                                                                                             yet they call everyday! --- Subject matter of the call: Energy, solar, & utilities
22 Y             Jerseyville IL           Liberty Power                         01/25/2018
23 Y             Rockland    MA           Liberty power   954       7711463     01/23/2018   Subject matter of the call: Energy, solar, & utilities
24 Y                         CT           Liberty Power   954       7711463     01/19/2018   Subject matter of the call: Energy, solar, & utilities
   Y             Willowbrook IL           Liberty Power   872       2104369     01/17/2018   Calls 1-3 times a day for last few weeks. Have asked repeatedly to remove this number from their call sheet. --- Subject matter of the call: Energy, solar, & utilities
25
                                          Co.
26 Y                           IL         Liberty Power   954       7711463     01/11/2018
27 Y             Pekin         IL         Liberty Power   877       4367161     01/09/2018   We've asked them to stop calling and they've continued to contact us on multiple occasions. --- Subject matter of the call: Energy, solar, & utilities
28 Y             milford       MA         liberty power   866       7698799     01/06/2018   called them and asked them to stop calling yet they continue. --- Subject matter of the call: Energy, solar, & utilities
   Y             watertown     MA         Liberty Power   857       2457945     12/12/2017   This number calls up multiple times per day, and it seems to be getting to be more frequent. There is never anyone on the line, so I can't simply ask them to stop calling.
29
                                          Company                                            Please help!! --- Subject matter of the call: Energy, solar, & utilities
     Y           watertown     MA         Liberty Power   857       2457945     12/12/2017   This number calls up multiple times per day, and it seems to be getting to be more frequent. There is never anyone on the line, so I can't simply ask them to stop calling.
30
                                          Company                                            Please help!! --- Subject matter of the call: Energy, solar, & utilities
     Y           Frankfort     IL         Liberty Power             8667693779 12/09/2017
31
                                                                    9
     Y           Mount         IL         Liberty Power 773         6256601    12/06/2017    Subject matter of the call: Energy, solar, & utilities
32
                 Prospect
     Y           Lockport      IL         Liberty Power                         12/04/2017   Robocall, and I Pressed 1 to talk to agent to ask to get my number removed, but didn't get that far in the conversation. He told me that the company is in Ft. Lauderdale, FL,
33                                                                                           and was struggling to figure out how his company got my number, then the connection was broken. I bet his supervisor/trainer cut it off. He's supposed to ask questions, not
                                                                                             answer them. --- Subject matter of the call: Energy, solar, & utilities
34 Y                           CA         Liberty Power 877         4367161     11/28/2017   Telemarketing is persistent and harassing me !! --- Subject matter of the call: Energy, solar, & utilities
35 Y             Everett       PA         Liberty Power 954         7711463     11/28/2017   Subject matter of the call: Energy, solar, & utilities
36 Y             Woodbury      CT         Liberty Power 203         8771310     11/27/2017   Subject matter of the call: Energy, solar, & utilities
                                                Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 10 of 23
         A        B             C          D          E        F         G                                                                                         H
     Y       NORTHAMP PA            Liberty Power 954     7711463   11/24/2017   LIBERTY POWER HAS BEEN CALLING ME EVERY WEEK, FOR THE PAST 2MONTHS. SOME WEEKS THEY CALL TWO OR THREE TIMES.THEY JUST WON'T TAKE
37
             TON                                                                 ME OFF THERE LIST, TO SPOT CALLING. --- Subject matter of the call: Energy, solar, & utilities
38 Y         Brockton      MA       Liberty Power   954   7711463   11/22/2017
39 Y                       IL       Liberty Power   510   7672676   11/21/2017
40 Y         Rockland      MA       Liberty power   954   7711463   11/21/2017   They called twice a day for the last week.
   Y         Franklin Park IL       Liberty Power   866   7693799   11/13/2017
41
     Y       ELMHURST IL            Liberty Power 954     7711463   11/13/2017   THIS UTILITY COMPANY CALLS EVERY DAY. ON AT LEAST TWO OCCASIONS I HAVE ASKED THEM TO CEASE AND DESIST. AT THAT POINT THEY HANG UP
42
                                                                                 WITHOUT COMMENT. --- Subject matter of the call: Energy, solar, & utilities
     Y       Milford       CT       Liberty power 954     7711146   11/10/2017   Liberty power has contacted me about 5 times within the past few months. Each time I have asked them to remove my number and then they say “sure” or just hang up. The
43                                                                               last representative who called on 11/10/17 stated she was sending an email to have my number removed. I asked who she was sending the email to butvshe would not advise.
                                                                                 --- Subject matter of the call: Energy, solar, & utilities
     Y       Whitehall     PA       Liberty Power 866     7693799   11/09/2017   Over the last few years, this company has been verbally harassing my dad (name listed above). He has dementia and they are trying to take advantage of his condition to
44
                                                                                 obtain business. --- Subject matter of the call: Energy, solar, & utilities
     Y       Elk grove    IL        Liberty Power 708     7192041   11/03/2017   Seems like a legitimate business that is ignoring the do not call list. --- Subject matter of the call: Energy, solar, & utilities
45
             village
     Y       So.Attleboro MA        Liberty Power 954     7711463   11/02/2017   This company has been reported on here before & not only have they NOT stopped,They are now calling twice a day.I have asked them to stop.Explained we have no
                                    Co                                           business with them.I also stated how they are harassing calls.They were told they would be reported to the Better Business Bureau & a class action suit should be sought after
46                                                                               against them.Most companies stop calling.There is no reason this company needs to call here daily & repeatedly.The number provided in this complaint should be shut down
                                                                                 for fraud!I do hope this will stop or else this registry is worthless. The Company name being used in the calls ARE NOT any company I have done business with or will do. ---
                                                                                 Subject matter of the call: Energy, solar, & utilities
     Y       NORTHAMP PA            Liberty Power 954     7711463   10/31/2017   They been calling every day now, for 2 weeks. Driving me nuts. I asked them to stop calling, but they won't. I asked to be taking off there list. Guess they won't. Please stop
47
             TON                                                                 them from calling. Thank you very much. --- Subject matter of the call: Energy, solar, & utilities
     Y       Berlin   MA            Liberty Power 954     7711463   10/26/2017   Liberty Power has been asked on several occasions to stop calling my cell phone number. And each time they say they will take me off their telemarketing list. But they are still
48
                                                                                 calling me constantly. Please help and stop these annoying calls. Thank you --- Subject matter of the call: Dropped call or no message
     Y       Stamford      CT       Liberty Power 954     7711463   10/24/2017   These guys call 5-10 time per day. We had used them last year when we figured out it was a scam. There are multiple scams from these people reported. --- Subject matter of
49
                                                                                 the call: Energy, solar, & utilities
     Y       CHICAGO       IL       Liberty Power   816   8489318   10/24/2017   Subject matter of the call: to save money on com.ed w/Liberty Power Holdings
50
                                    Savings
51 Y                       MA       Liberty Power   954   7711463   10/13/2017   Subject matter of the call: Energy, solar, & utilities
52 Y         Belleville    IL       Liberty Power   954   7711463   10/10/2017   I have asked this company to stop calling, I am not interested in their product. --- Subject matter of the call: Energy, solar, & utilities
   Y         Coatesville   PA       Liberty Power   954   7711463   10/09/2017   Subject matter of the call: Energy, solar, & utilities
53
                                    Co.
54 Y         Belleville    IL       Liberty Power   954   7711463   10/09/2017   I have asked this company to stop calling several times and I do not wish to use their energy source. --- Subject matter of the call: Energy, solar, & utilities
   Y                       IL       Liberty Power   954   7711463   10/06/2017   This electric power company over charges and I don't want them to call here trying to regain their service here. I have told them not to call here and that this number (b)(6) is
55
                                    Corporation                                  on the do not call list. Please make them stop calling. Thank you
56 Y                       IL       Liberty Power   877   4367162   10/06/2017   Subject matter of the call: Energy, solar, & utilities
   Y         Benton        IL       Liberty Power   954   7711463   10/06/2017   I have asked this company to stop calling me and they keep calling. --- Subject matter of the call: Energy, solar, & utilities
57
                                    Corporation
58 Y         Tiskilwa      IL       Liberty Power   866   7693799   10/06/2017   Subject matter of the call: Energy, solar, & utilities
   Y         West          IL       Liberty Power   708   6408016   10/05/2017   Asked several times to stop calling very rude reps --- Subject matter of the call: Energy, solar, & utilities
59
             Dundee
     Y       West          IL       Liberty Power 773     2693294   10/05/2017   I have asked several times for the past year to stop calling me --- Subject matter of the call: Loan
60
             Dundee
61 Y         Belleville    IL       Liberty Power   954   7711463   10/05/2017   I have told this company that I do not want their product and to stop calling. --- Subject matter of the call: Energy, solar, & utilities
62 Y         Belleville    IL       Liberty Power   954   7711463   10/05/2017   I have asked this company to stop calling several times. --- Subject matter of the call: Energy, solar, & utilities
63 Y         Belleville    IL       Liberty Power   954   7711463   10/05/2017   I have informed this company that I do not want their product and to stop calling. --- Subject matter of the call: Energy, solar, & utilities
   N         Delmar        NY       Liberty Power   315   2932714   10/04/2017   I have been asking them to take me off the list and stop calling me for almost a year. --- Subject matter of the call: Energy, solar, & utilities
64
                                    Co
65 Y         Rochester   NY         Liberty Power   646   8449759   09/27/2017   They call non stop. I've never done business with them. --- Subject matter of the call: Energy, solar, & utilities
   Y         Des Plaines IL         Liberty Power   954   4349390   09/26/2017   In the past week I have asked three different people to take my name and number off the call list for this company. No one seems to get the message. Instead of the 3 to 5
66
                                                                                 calls a day I am getting one when I want NONE.I don't know what else to do to stop these annoying calls. Please help. --- Subject matter of the call: Energy, solar, & utilities
67 Y         BROOKLYN NY            Liberty Power 954     7711463   09/26/2017   Subject matter of the call: Energy, solar, & utilities
68 Y         Rochester NY           Liberty Power 646     8449759   09/26/2017   They call non stop. I've never done business with them. --- Subject matter of the call: Energy, solar, & utilities
   Y         Worcester MA           Liberty Power 954     7711463   09/25/2017   I called them 9/21/17 at 7:03PM and requested they stop calling me. The person who took my call said that he entered my number as "do not contact" in their computer. But, I
69                                                                               received a phone call again today. The person calling said there was no such information. Moreover, the company called me from the same number: 9/21 (6:09pm), 9/19
                                                                                 (6:46pm), 9/15 (5:35pm), 9/15 (4:47pm) --- Subject matter of the call: Energy, solar, & utilities
70 Y                       IL       Liberty Power 877     4367162   09/25/2017   This company calls multiple times a year and we've asked them to stop before. --- Subject matter of the call: Energy, solar, & utilities
71 Y                       CT       Liberty Power 954     7711463   09/24/2017
   N         Rochester     NY       Liberty Power 646     8449759   09/20/2017   This company is harassing me to do business with them. I clearly tools them I'm not interested. They have deep foreign accents. They call me daily. --- Subject matter of the
72
                                                                                 call: Energy, solar, & utilities
73 Y         Springfield   MA       Liberty Power   954   7711463   09/18/2017   I have asked this company to stop calling several times and they keep calling!!! --- Subject matter of the call: Energy, solar, & utilities
   Y         Benton        IL       Liberty Power   954   7711463   09/15/2017   Subject matter of the call: Energy, solar, & utilities
74
                                    Corp
75   Y       Rochester     NY       Liberty Power   646   8449759   09/13/2017   Many calls --- Subject matter of the call: Energy, solar, & utilities
76   Y       Rochester     NY       Liberty Power   646   8449759   09/13/2017   Many calls --- Subject matter of the call: Energy, solar, & utilities
77   Y       Rochester     NY       Liberty Power   646   8449759   09/13/2017   Non stop calls. Has been told to stop. --- Subject matter of the call: Energy, solar, & utilities
78   Y       Rochester     NY       Liberty Power   646   8449759   09/13/2017   Call almost every day after being told to stop. --- Subject matter of the call: Energy, solar, & utilities
     Y       Rochester     NY       Liberty Power   646   4959811   09/13/2017   I don't know why they keep calling. I have asked adamantly to stop. Many different phone numbers. Very unprofessional and can barely speak English. --- Subject matter of
79
                                                                                 the call: Energy, solar, & utilities
     Y       Fairfield     CT       Calibrus on 475       2820592   09/13/2017   Telemarketers called me to try to get me to switch my electricity generation provider to Liberty Power. They offered me a $0.12060/kwh rate for 12 months. It took me a while
                                    behalf of                                    for them to tell me which company they are calling from. It turns out they are calling from Calibrus telemarketing, as I finally got the name "Bella" and her company name,
80
                                    Liberty Power                                "Calibrus." They would only give me a callback number of 866-POWER99, which is the number for Liberty Power. --- Subject matter of the call: Energy, solar, & utilities
                                                 Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 11 of 23
          A        B             C          D              E        F          G                                                                                             H
      Y       prospect    IL         Liberty Power                        09/12/2017   He wouldn't give the company phone number --- Subject matter of the call: Energy, solar, & utilities
81
              heights
82 Y          Walnut Hill IL         Liberty Power 954         7711463    09/01/2017   This happens at least 2 times a day --- Subject matter of the call: Energy, solar, & utilities
   Y          Bingahmton NY          Liberty Power             9544771146 09/01/2017   Subject matter of the call: Energy, solar, & utilities
83
                                                               3
      Y       Elk Grove     IL       Liberty Power                        08/30/2017   THey call 2-3 times a day. EVERY DAY. We have asked them to stop and they do not. --- Subject matter of the call: Energy, solar, & utilities
84
              Village                Co
      Y       Elk Grove     IL       Liberty Power 866         7693799    08/30/2017   THey call 2-3 times a day. EVERY DAY. We have asked them to stop and they do not. --- Subject matter of the call: Energy, solar, & utilities
85
              Village
      Y       New Britain   CT       liberty power   866       7693799    08/28/2017   they have switched my utilities to them even after I said ABSOLUTELY NOT --- Subject matter of the call: Energy, solar, & utilities
86
                                     holdings llc
87 Y          Belleville    IL       Liberty Power   954       7711463    08/28/2017   I have told this company to stop calling me and that I do not need or want their product. --- Subject matter of the call: Energy, solar, & utilities
88 Y          Lindenwold    NJ       Liberty Power   954       7711463    08/25/2017   Subject matter of the call: Energy, solar, & utilities
89 Y          Belleville    IL       Liberty Power   954       7711463    08/24/2017   I have advised this company that I no longer need or want their service and to stop calling me. --- Subject matter of the call: Energy, solar, & utilities
   Y          Waltham       MA       Liberty Power   954       7711463    08/22/2017   This is the 3rd call in two days. I reported 1 of 2 calls yesterday. --- Subject matter of the call: Energy, solar, & utilities
90
                                     LLC
      Y       Waltham       MA       Liberty Power   954       7711463    08/21/2017   I stopped using this company in February 2016 and they have been hassling me ever since, and have told them on numerous occasions to not call me, I don't want their
91
                                     LLC                                               product. They call me daily. I'm sure I will be logging another complaint tomorrow. --- Subject matter of the call: Energy, solar, & utilities
92 Y                        IL       Liberty Power   954       7711463    08/21/2017   Subject matter of the call: Dropped call or no message
   Y          Needham       MA       LIBERTY         954       7711463    08/18/2017   I am being bombarded by phone calls from this company. They have increased frequency from weekly to DAILY. I had written to them and I have repeatedly told them Do Not
93
              Heights                POWER                                             Call. I entered a complaint after their call yesterday. --- Subject matter of the call: Energy, solar, & utilities
94 Y          Chicago       IL       Liberty Power   954       7711463    08/17/2017   This company calls me every day. Kept asking them to put me on their do not call list. --- Subject matter of the call: Energy, solar, & utilities
   Y          Needham       MA       LIBERTY         954       7711463    08/17/2017   Up until about a year ago I canceled business with this company by mail, which they agreed. They continue to call frequently. Recently it has been weekly. This week I have
95
              Heights                POWER                                             received calls every day. I have REPEATEDLY asked them to stop and remove my name. --- Subject matter of the call: Energy, solar, & utilities
      Y                     MA       Liberty Power   957       7711463    08/17/2017   We get call from Liberty Power almost daily. We have NEVER asked them to contact us. We would like the calls to STOP. --- Subject matter of the call: Energy, solar, & utilities
96
97 Y          Loves Park    IL       Liberty Power                        08/08/2017
   Y          Hoffman       IL       Liberty Power   954       7711463    08/09/2017   Three time for last fours months they still calling to me and offering energy service. I asked manager and informed him to remove my cell number from his system and stop
98
              Estates                Corp                                              calling to me. No any results. Please register my message about it. Thank you. --- Subject matter of the call: Energy, solar, & utilities
99 Y          Berlin        MA       Liberty Power   978       6311320    08/01/2017   Subject matter of the call: Energy, solar, & utilities
100 Y         Berlin        MA       Liberty Power   617       6069240    08/01/2017   Subject matter of the call: Energy, solar, & utilities
101 Y         Berlin        MA       Liberty Power   774       6338031    08/01/2017   Subject matter of the call: Energy, solar, & utilities
    Y         Berlin        MA       Liberty Power   718       5772849    08/01/2017   I have been getting multiple calls from this company on a weekly basis. All from different phone numbers. I have asked them every single time to stop calling my cell phone
102                                                                                    and they still continue to do so. Getting really tired of these unwanted phone calls. Please try to help. Thank you Kim Gonzales --- Subject matter of the call: Energy, solar, &
                                                                                       utilities
      Y       Lawrence      MA       Liberty Power 954         7711463    07/31/2017   This company lied and said I agreed to go back to them as my electricity provider over a year ago. I had to jump through hoops to get them to admit I did not and give me a
103                                                                                    partial refund. They still call often, even though I have told them to stop calling and that I was on the do not call lists, I continue to get calls at least once a week. --- Subject
                                                                                       matter of the call: Energy, solar, & utilities
      Y       South      MA          Liberty Power 954         7711463    07/28/2017   Have been receiving repeated calls since past 3 days. I had specified to them priorly that I am not interested in their product. --- Subject matter of the call: Energy, solar, &
104
              Weymouth                                                                 utilities
105 Y         Beach Park IL          Liberty Power   510       7672676    07/20/2017   0 --- Subject matter of the call: electric savings
106 Y         bensalem   PA          liberty power   877       2899925    07/20/2017   they call all the time --- Subject matter of the call: Energy, solar, & utilities
    Y                    MD          LIBERTY         954       7711463    07/07/2017   THIS IS A POWER COMPANY IN FLORIDA. I LIVE IN MARYLAND. THERE ARE COMPLAINTS AGAINST THIS NUMBER ON GOOGLE. THANK YOU. --- Subject matter of
107
                                     POWER                                             the call: Dropped call or no message
      Y       Chicago       IL       Liberty power   508       2021270    07/05/2017   Call wanting us to change electric company. Numerous times 3-4 a day --- Subject matter of the call: Energy, solar, & utilities
108
              heights
109 Y         Springfield   MA       Liberty Power   954       7711463    06/29/2017   Subject matter of the call: Energy, solar, & utilities
    Y         Bowie         MD       Liberty Power   877       2899925    06/27/2017   Subject matter of the call: Energy, solar, & utilities
110
                                     Corp.
111 Y         Orleans       MA       liberty power   866       7693799    06/22/2017   I get about 10-20 calls a week from energy companies and have been o the do not call list since 2003 --- Subject matter of the call: Energy, solar, & utilities
112 Y                       MD       Liberty Power   877       2899925    06/21/2017   Subject matter of the call: Energy, solar, & utilities
113 Y         Brooklyn      NY       Liberty Power   718       5147113    06/21/2017   I have asked them twice already to stop calling, and they keep calling trying to sell me their utility service. --- Subject matter of the call: Energy, solar, & utilities
    Y         Woodbury      CT       Liberty Power   877       2899925    06/20/2017   Asked to be removed from the list, man on the other end ignored my request and insisted that I tell him what our current rates are with the company we are currently using. I
114                                                                                    kept repeating myself asking to be removed and he refused and told me that he will call me back in an hour and hung up. --- Subject matter of the call: Energy, solar, & utilities

115   Y       huntingtown MD         liberty power   877       2899925    06/19/2017   Subject matter of the call: Energy, solar, & utilities
116   Y                   NY         Liberty Power   718       5147113    06/16/2017
117   Y       Belleville  IL         Liberty Power   954       7711463    05/26/2017   I have asked this company to remove my phone number, I do not want their services. --- Subject matter of the call: Energy, solar, & utilities
118   Y                              Liberty Power                        05/22/2017
      Y       Chicago       IL       Liberty Power   708       8584095    05/20/2017
                                     Electric
119                                  Company/Inn
                                     ovative
                                     Teleservices
      Y       Prairie du    IL       Liberty power   508       5236101    05/17/2017   Subject matter of the call: Energy, solar, & utilities
120
              Rocher
      Y       Brooklyn      NY       Liberty Power 857         9729380    05/02/2017   I get calls from them once a week and have explained at least 5 times that utilities are no longer in my name and I would like my number removed from their list. --- Subject
121
                                                                                       matter of the call: Energy, solar, & utilities
122 Y         Blue Bell     PA       Liberty Power   877       2899925    04/30/2017   Subject matter of the call: Energy, solar, & utilities
    Y                       CT       LIBERTY         877       2899925    04/27/2017   Subject matter of the call: Energy, solar, & utilities
123
                                     POWER
      Y                     NY       liberty power   866       7693799    04/20/2017   Subject matter of the call: Energy, solar, & utilities
124
                                     co
125 Y         Chicago       IL       Liberty Power   773       8405076    04/17/2017   Subject matter of the call: Energy, solar, & utilities
                                                  Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 12 of 23
          A         B             C          D          E        F         G                                                                                                    H
      Y       Roslindale     MA       Liberty Power 617     3901615   04/08/2017   About 2 or 3 years ago I signed up as a consumer with Liberty Power. For several months now they have been harassing me with phone calls. They call to try to get me to sign
                                                                                   up with them. I let them know that I'm already on eod their customers. The calls continued. I then asked them not to call me anymore and to remove my number from their
126                                                                                system. They began calling from different numbers. Again I told them I'm already a customer, remove my number. Then they started calling me and speaking spanish. I told
                                                                                   them to stop calling me. Now they call me from "Private Numbers". I told them to stop calling me, I'm going to end my business with them, and I will be reporting the harassing
                                                                                   phone calls. They call at random, at any time of day. These phone calls are causing me distress and anxiety. --- Subject matter of the call: Energy, solar, & utilities
      Y       HARLEYSVI PA            LIBERTY       877     2899925   04/04/2017   I HAVE ASKED THEM AT LEAST 6 TIMES OVER THE PAST 2 MONTHS TO NOT CALL AND THAT I AM ON A DO NOT CALL LIST. THE TIME THEY CALLED IS NOT
127
              LLE                     POWER                                        EXACT. --- Subject matter of the call: Energy, solar, & utilities
      Y                 IL            Liberty Power 774     2411006   03/29/2017   Liberty Power called saying it was Comed and that I am to receive a subsidy through Federal Deregulation Law. They said that they are the supplier of Comed's power and the
                                      / Comed                                      call was being recorded. I asked if this is legitimate, and he said yes it is and it regarding the Federal Deregulation law. They said from the law, I would received a subsidy with
128                                                                                a better, fixed price for 2 years. They also said they were sending me 2 Visa gift cards. Then they asked me to bring up my bill for my Account # and asked me to verify by
                                                                                   billing address. They transferred me to another number and I hung up the phone since it said I was switching to Liberty Power (which I was not aware that they were doing).
                                                                                   They have now called me at least 6 times in the last 10 minutes. --- Subject matter of the call: Energy, solar, & utilities
      Y       Collinsville   IL       Liberty Power 954     7711463   03/27/2017   Someone from their company signed me up for their "energy savings" awhile back without my consent. Once I learned of this, I cancelled them. I have been repeated called for
129                                                                                the past 6 mths and have repeated asked them to stop calling me each time they call. I have also sent over an email to them last week in regards to this, they promised to stop
                                                                                   but the calls are still coming. --- Subject matter of the call: Energy, solar, & utilities
130 Y         Olney          MD       Liberty Power   877   2899925   03/24/2017   Subject matter of the call: Energy, solar, & utilities
    Y                        IN       Liberty Power   954   7711463   03/21/2017   I have not yet answered the phone, but have done research on the number. I live in Indiana, not Florida. They've no reason to be calling me. They've called me 4 times within
131                                   TX Holdings                                  the last 2 business days without leaving a message. --- Subject matter of the call: Energy, solar, & utilities
                                      LLC
132 Y         Hartford       CT       Liberty Power   818   6711881   03/18/2017   Call several times a week. --- Subject matter of the call: Computer & technical support
    Y         Chicago        IL       Liberty Power   917   7203952   03/14/2017   Liberty power continues calling from the following numbers. 9177203952, 7184465272, 8574534018, 6174090084, 6465938644. --- Subject matter of the call: Energy, solar, &
133
                                                                                   utilities
      Y       Chicago        IL       Liberty Power 917     7203952   03/14/2017   Liberty power continues calling from the following numbers. 9177203952, 7184465272, 8574534018, 6174090084, 6465938644. --- Subject matter of the call: Energy, solar, &
134
                                                                                   utilities
      Y       Philadelphia PA         liberty power 954     7711463   03/13/2017   I got a call from them a week ago and requested to be added to their do not call list, yet they have called me twice since I've made that request. --- Subject matter of the call:
135
                                                                                   Energy, solar, & utilities
136 Y         Indiana        PA       Liberty Power 877     4367162   03/10/2017   Subject matter of the call: Energy, solar, & utilities
    Y         Pomfret        CT       Liberty Power. 860    3183501   03/09/2017   Caller ID:W CORWALL CT starred with robocall saying I could get a discount on my Eversource bill Pressed 1 Got a human Asked 3 times for name of company Finally told
137
              Center                                                               me Liberty Power I said not interested and requested they stop calling. --- Subject matter of the call: Energy, solar, & utilities
      Y       Lititz         PA       Liberty Power 877     7693799   03/07/2017   Spoke with "Nick" (probably not his real name). I have never done business nor do I desire to do business with Liberty Power or it's affiliates. --- Subject matter of the call:
138
                                                                                   Energy, solar, & utilities
139 Y                        PA       Liberty Power 877     2899925   03/06/2017   The person called several times in a row. This is a business number, and we asked them to stop calling us last year. --- Subject matter of the call: Energy, solar, & utilities
    Y                        CT       Liberty Power 866     7693799   02/28/2017   The caller ID showed 203-409-0839, a local number. That number is no good. I answered a robo call. I played along and finally a live person got on the line. After I acted
                                      Corp, LLC                                    very interested in switching to their company for electricity, I kept asking questions. The boiler room person must be new because over time I was able to coax out of him the
140
                                                                                   name of the company that he wanted me to switch to as a new electricity provider. As soon as he disclosed "Liberty Power Corp" I overhead a colleague of his yell at him to
                                                                                   hang up. These people should be heavily fined and or shut down! --- Subject matter of the call: Energy, solar, & utilities
141 Y                        CT       Liberty Power 866     7693799   02/24/2017
    Y         Rockford       IL       Liberty Power                   02/23/2017   Phone number did not show up in my caller ID. This is second time this company has called and told me they received a notice I am a customer which is not correct. And I
142
                                                                                   told them such and to put me on the do not call list for a second time. --- Subject matter of the call: Energy, solar, & utilities
      Y       Thomaston      CT       Liberty Power 510     7672676   02/14/2017   This company keeps calling me and i have asked them to stop. I gave them my daughters phone number 203-509-5798 and they called her. She asked them to put me on no
143                                                                                call list and they refused and wanted to discuss why we are requesting that. Please call my daughter, i am 88 and on a fixted income. --- Subject matter of the call: Energy,
                                                                                   solar, & utilities
144 Y         Hartford       CT       Liberty Power   877   2899925   02/13/2017   THEY call DAILY. Continuously. --- Subject matter of the call: Energy, solar, & utilities
145 Y         Canton         IL       Liberty Power   309   3001010   02/07/2017   Subject matter of the call: Energy, solar, & utilities
146 Y                        IL       Liberty Power   309   3001010   02/07/2017   Speaker was from India. --- Subject matter of the call: Energy, solar, & utilities
    Y                        PA       Liberty Power   877   2899925   02/06/2017   The people call my home at least once per day. They also call us at work one or more times per day. I've asked them to take my number off their list. They agree to do it but
147
                                                                                   three years later...they are still calling. --- Subject matter of the call: Energy, solar, & utilities
      Y       Greenfield     MA       liberty power 508     3421563   02/06/2017
148                                   green
                                      energies
      Y       Bloomfield     CT       Liberty Power 866     7693799   02/04/2017   .This call was made to my 95 year old Father in law, Leo Novarr. He is on the do not call registry. I am not sure of the exact date of the call. They changed is electric supplier.
149
                                                                                   Please give me a call if you have any questions. Thanks. (b)(6) --- Subject matter of the call: Energy, solar, & utilities
150 Y                        PA       Liberty Power 877     2899925   02/01/2017   Subject matter of the call: Energy, solar, & utilities
    Y         Fairfield      CT       Liberty Power 866     7693799   02/01/2017   A third-party working on behalf of Liberty Power in the State of CT calls to try to get me to switch my electricity energy supplier. They call from disconnected phone numbers:
                                                                                   203-308-4672 and 774-241-1006. The robo call says press 1 to talk to a representative and press 2 to be removed from the list. I've pressed 2 multiple times. I've pressed 1
                                                                                   and asked to be removed (they immediately hang up). I've pressed 1 and yelled. My number has been listed in the National Do Not Call Registry since 21-MAR-2012. Today
151
                                                                                   I spoke with Liberty Power Vice President of Law and General Counsel Mr. Harris Rosen. Phone number: 954-598-7061. He was sympathetic to my concerns but made it
                                                                                   clear that it is a third-party calling me trying to get a commission by connecting me to Liberty Power. Companies like Liberty Power that deploy this tactic should be held
                                                                                   responsible when the fly-by-night third-parties can not be policed. --- Subject matter of the call: Energy, solar, & utilities
152 Y         Danbury       CT        Liberty Power 866     7693799   01/30/2017   They keep calling many times per month. Phone number on caller id is 203-308-4672 --- Subject matter of the call: Energy, solar, & utilities
    Y         Pinckneyville IL        Liberty Power 866     7693799   01/27/2017   The number called and listed above is for my mother, (b)(6) at (b)(6), Pinckneyville, IL. She is 88, has Alzheimer's, and can't make decisions about switching her electric
                                                                                   provider. I'm not sure if she switched it tonight or not, but she has done so twice before. The time of the call is approximate, since I was not there, and she doesn't have caller
153                                                                                ID. My brother has twice told them not to call her, yet they continue to do so. They said they would not call her again, but that was obviously a lie. I believe they are preying
                                                                                   on the elderly. She has been on the do not call list for years. I believe there should be severe consequences for repeated violations such as this. My phone number is (b)(6),
                                                                                   and my email address is (b)(6) Thank you for your help. --- Subject matter of the call: Energy, solar, & utilities
      Y       WALDWICK NJ             Liberty Power 312     2196131   01/27/2017   These calls are excessive. --- Subject matter of the call: Warranties & protection plans
154                                   or Liberty
                                      Energy
      Y       Berwyn         PA       Liberty Power 216     4169188   01/25/2017   First call of the day was @ 2:28PM, told caller we had requested many times to be taken off their list and not to call again. 2nd call was 5 minutes later, it was the same
155
                                                                                   individual. He said "You did not answer my question" again, I told caller to take our number off of his list. --- Subject matter of the call: Energy, solar, & utilities
      Y       Branford       CT       Liberty Power 866     7693799   01/23/2017   Electric power- complainant rec'd recorded message about saving on his electric bill- press '1' to speak with rep. C told them he was on the Nat'l DNC List. --- Subject matter of
156
                                                                                   the call: Energy, solar, & utilities
157   Y       Branford       CT       Liberty Power   866   1693799   01/21/2017   Message said I could reduce my electric charges and to press 1 t speak with rep. Told them I was on Do Not Call list.
158   Y       Wexfotd        PA       Liberty Power   877   4367162   01/19/2017   Subject matter of the call: Energy, solar, & utilities
159   Y       Hartford       CT       Liberty Power   877   2899925   01/17/2017   They have called many times. --- Subject matter of the call: Energy, solar, & utilities
160   Y       Roselle        IL       Liberty Power   217   2804261   01/05/2017   They call every 2-3 months, I tell them I'm not interested and to stop calling --- Subject matter of the call: Energy, solar, & utilities
                                                  Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 13 of 23
          A        B              C          D          E        F         G                                                                                                      H
      Y       Berwyn         PA       Liberty Power 877     2999925   01/04/2017   First call from Liberty Power was at 2:39, I asked to be removed from their list, mind you, they call us daily. They have been asked many times to be taken off the list. They
161                                                                                immediately called back, it was still 2:39. The caller asked "what happened" and then hung up. The caller called a 3rd time at 2:40 and stood on the line without saying
                                                                                   anything. --- Subject matter of the call: Energy, solar, & utilities
162 Y         Needham        MA       Liberty Power                   01/03/2017   Subject matter of the call: Energy, solar, & utilities
163 Y         Woodbury       CT       Liberty Power 860     5808098   01/02/2017   Tried to sell me electricity. --- Subject matter of the call: Energy, solar, & utilities
    Y         hazleton       PA       liberty power 877     2899925   01/02/2017   we have asked this company several times to stop calling us, and to put us on there do no call list, but they still call us every day. --- Subject matter of the call: Energy, solar, &
164
                                                                                   utilities
      Y       Waterbury      CT       Liberty Power 860     5808098   12/30/2016   This was a robo call at first. I had to select #1, to speak with pitchman. Once he came on, he would not let me speak for 2 minutes. Finally, I asked him who he was
                                                                                   representing, and stated Liberty power. I asked how he received my number as it is registered in the do not call registry for over several years. He stated it was a random
165
                                                                                   selection. I asked if he was aware that this was on the do not call registry. He said no. I told him I was reporting his number and he stated he was reporting my number as well.
                                                                                   --- Subject matter of the call: Energy, solar, & utilities
166 Y                      NJ         Liberty Power 508     5236101   12/30/2016   Subject matter of the call: Energy, solar, & utilities
    Y         Phillipsburg NJ         Liberty power                   12/27/2016   The call was a robo call that asked if I wanted to hear about lowering my electric bill press 1. It was calling from an unknown caller and we receive a lot of theses calls. When I
                                                                                   was connected I asked for the company name and the person I was speaking too. I was given the name of Jason Roberts from liberty electric. When i asked how he got my
                                                                                   number an electronic voice came in and said "DNC" if the government is selling my number I want to know because I am going to reach out to my local congressman about
167
                                                                                   this deceptive practice. Please provide a written explanation as to WHY I am am constantly receiving these calls. I thought the government was to protect it citizens from
                                                                                   harassing phone calls and that was the purpose of the DI NOT CALLlist. Another waste of tax payers money going into some politicians pocket I guess maybe president elect
                                                                                   Trump will do something about this but I doubt it --- Subject matter of the call: Energy, solar, & utilities
      Y       Libertyville   IL       Liberty Power 773     8390188   12/21/2016   I am a senior citizen who is tired of being called by scammers. Prior complaints have not stopped these calls. The do not call registry appears to be a nonexistent protection
168
                                                                                   measure. Does anyone ever do anything about these telemarketers and scammers? --- Subject matter of the call: Energy, solar, & utilities
      Y       Dunellen       NJ       Liberty Power 508     5236101   12/20/2016   The caller refused to provide a company address, but did say the company was from Fort Lauderdale, Florida before abruptly hanging up. A search I performed resulted in the
169
                                                                                   following in that city: 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309. --- Subject matter of the call: Energy, solar, & utilities
170 Y                     NY          liberty power 877     4367162   12/16/2016   Arrogant SOB - Did not want to hear that I was on the Govt. DO-Not-Call list. He kept saying "That doesnt matter". --- Subject matter of the call: Energy, solar, & utilities
    Y         Easthampton MA          Liberty Power 866     7693799   12/10/2016   This is their real phone number: 866–769–3799 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309 https://www.libertypowercorp.com Repeated calls to sell electric
                                                                                   power under the Mass. competitive supply program. Callers say they're calling from Liberty Power's Ft. Lauderdale office, but the thick accents every caller speaks with
171
                                                                                   suggest an off-shore call center. Callers say they use the federal no-call list but that many numbers that are supposed to be on it are "not visible" to them. They offer to put my
                                                                                   number on their internal no call list, but the calls keep coming. --- Subject matter of the call: Energy, solar, & utilities
172 Y         Newton         MA       Liberty Power         5236101   11/25/2016   Indian caller tried to sell electric power contract --- Subject matter of the call: Energy, solar, & utilities
    Y         Saint          IL       Liberty Power 877     2899925   11/22/2016   called asking for the person in charge of the power bill, unsolicited calls, i asked them to stop calling. --- Subject matter of the call: Electric Bill
173
              Charles
174 Y                     IL          Liberty Power   815   9245130   11/18/2016   I have requested a stop to all calls from this company but they continue to call multiple times a day. --- Subject matter of the call: Energy, solar, & utilities
175 Y         MENDON      MA          Liberty Power   508   5236101   11/17/2016
176 Y         Scotia      NY          Liberty Power   518   6312239   11/17/2016   Subject matter of the call: Energy, solar, & utilities
    Y         Lincolnwood IL          Liberty Power   773   2450099   11/11/2016   Caller ID showed "Illinois Call". I punched 5 on their menu and asked a live person to remove this number from their calling list. --- Subject matter of the call: Energy, solar, &
177
                                                                                   utilities
      Y       Bellingham     MA       liberty power 978     6311895   11/10/2016   person called and asked to speak with person responsible for paying electric bill. i asked who they were. when i didn't recognize the company as the one i use i told the
178
                                                                                   representative i was on the no call list. She hung up. why do i keep getting calls when i am on the list? --- Subject matter of the call: Energy, solar, & utilities
179 Y         N Weymouth MA           Liberty Power 508     5236101   11/07/2016   I have asked them multiple time to take me off of their list. --- Subject matter of the call: Energy, solar, & utilities
    Y                    NJ           Liberty Power 815     3154725   11/03/2016   Subject matter of the call: Energy, solar, & utilities
180
                                      Supply
      Y       Milford        PA       liberty power 877     2899925   11/03/2016   This company is calling us every day. They have been told multiple times to not call us and take us off the list. Our business, Yetter Insurance Agency, Inc, has 4 phone lines
181
                                                                                   (and all are subscribed to the do not call). --- Subject matter of the call: Energy, solar, & utilities
      Y       Elk Grove IL            liberty power 773     2450099   11/02/2016   Subject matter of the call: Energy, solar, & utilities
182
              Village
183 Y         Cary      NC            Liberty power   815   3154725   11/01/2016   Subject matter of the call: Energy, solar, & utilities
    Y         LEESPORT PA             Liberty Power   877   4367162   10/26/2016   This company calls us at least once a day and we have asked them several times to remove our name from their list. --- Subject matter of the call: Energy, solar, & utilities
184
                                      - Peter
185 Y         Indianapolis IN         Liberty Power   877   2899925   10/21/2016   Subject matter of the call: Energy, solar, & utilities
186 Y         Evanston     IL         Liberty Power   866   7692799   10/19/2016   Subject matter of the call: Energy, solar, & utilities
    Y         Burlington   MA         Liberty Power   781   2021276   10/19/2016   "receive a discount on your Eversource bill". press#1 to speak with rep. I asked what company name was - indian accented guy said Liberty Power from Framingham MA.
187
                                                                                   Asked to opt-out future calls. They continue to call me. 14x last few months. --- Subject matter of the call: Energy, solar, & utilities
      Y       Franklin       MA       Liberty Power 508     2021270   10/18/2016   I have been receiving call from this company every evening sometimes around 6:30 p.m, sometimes around 7 p.m sometimes as late as 8:30 p.m. I even asked them to
188                                                                                remove my number from their registry, but they still keep calling me. The caller is most probably sitting somewhere in India and is really rude. I am really frustrated by this
                                                                                   whole thing. Please shut down these guys --- Subject matter of the call: Energy, solar, & utilities
      Y       Pittsfield     MA       Liberty Power 886     7693799   10/12/2016   I don't feel like there is any action being taken against these companies. I report them and I am still getting two three sometimes as many as five or more calls a day! ---
189
                                                                                   Subject matter of the call: Energy, solar, & utilities
190 Y         Shrewsbury MA           Liberty Power   978   6311895   10/12/2016   I am not sure if the woman was an employee of Liberty and an independent agent --- Subject matter of the call: Energy, solar, & utilities
    Y         WALDWICK NJ             Liberty Power   732   3449172   10/11/2016   This company call my home and cell # almost everyday from a different phone number. I have asked them numerous times to remove my number from their list. It is getting out
191                                   or Liberty                                   of control. If I block the number they call from, they continue to call from another number. --- Subject matter of the call: Energy, solar, & utilities
                                      Energy
      Y                      IL       Liberty Power   309   7274474   10/05/2016   Subject matter of the call: Energy, solar, & utilities
192
                                      Co
      Y       Boston         MA       Liberty Power   413   2590127   10/03/2016   they call me all they long i appears they are using a spoofing device to make the number local but when you call it it won't go through! I tell them every time not to call me but
193
                                                                                   they keep calling!!! --- Subject matter of the call: Energy, solar, & utilities
      Y                      CT       Liberty Power 203     6439344   10/03/2016   I took the time to explain that I was on the DNC list and how the fines worked, but it didn't faze her one bit. She shrugged it off and kept on doing her pitch. --- Subject matter
                                      (callerID:                                   of the call: Energy, solar, & utilities
194
                                      BRANDFORD
                                      CT)
      Y       Marlborough MA          Liberty Power                   10/01/2016   Company called 3x within a 20 minute span when I was on the phone. Finally took the call. Recording was about reducing EverSource cost. Waited for rep. Liberty Power.
195
                                                                                   Rep refused to give me the phone number. Asked to be put on do not call list. --- Subject matter of the call: Energy, solar, & utilities
      Y       Marlborough MA          Liberty Power                   09/29/2016   call from man w/ Indian accent. Said he was calling about a discount on electricity I aked him what company her was calling from. he said "an affiliate of Eversource" my elec
                                                                                   provider. I asked again what company? "Liberty Power an associate of Eversource" I said no your not and he began to go on some explanation. I asked what I had to do to get
196                                                                                this discount.He said" verify the name address and account number . I asked where is your company located? "he said "I am not going to tell you that, good bye" and hn
                                                                                   located? he paused and said"Iam not going to tell you that good bye" and hung up Funny but my number is on the Do Not call List and this company is deceiving in its
                                                                                   information to consumers
                                                 Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 14 of 23
          A       B              C          D          E        F         G                                                                                            H
      Y       Mechanicsb PA          Liberty Power 866     7693799   09/29/2016   Liberty Power keeps calling me to renew my contract with them. I am not renewing with them and have asked them each time they call (over 30 by now) to please stop calling
              urg                                                                 me. They always say they will but they don't. Sometimes they call 5 times a day. I am trying to run a business and can't be bothered with a power supplier wanting to renew a
197
                                                                                  contract that won't ever be renewed. Can you tell them to stop calling me because my words to them are useless. Thank you. --- Subject matter of the call: Energy, solar, &
                                                                                  utilities
      Y       Danvers      MA        eversourse    508     2021270   09/28/2016   I spoke to a person and asked them to take me off of their calling list.
198                                  (Liberty
                                     Power)
      Y                    NJ        Liberty Power                   09/26/2016   We get frequent calls from Liberty Power. It starts with a recording, then transfers to a live operator. They at first imply they are with PSE&G, then after prodding admit they are
199
                                                                                  with Liberty Power. We've requested to be removed from their list multiple times.
200 Y         Portland    PA         Liberty Power 877     2899925   09/22/2016   Caller Keeps calling here even though I told them I am on the do not call list and do not call this phone number. They call me twice a week and won't stop
201 Y                     PA         Liberty Power 877     2899925   09/20/2016   3 calls in 3 weeks
    Y         Bridgewater MA         Liberty Power 508     2021270   09/19/2016   For the past three months Liberty Power has called me on average eight times per day. I have told them repeatedly to stop calling. When I ask for a supervisor they just hang
202
                                                                                  up and call back four minutes later. They also call from 6174464090.
203   Y       Wyomissing PA          Liberty Power   877   2899925   09/19/2016   I informed them I was on the do not call list and please do not call this number again .
204   Y       Haddon Twp NJ          Liberty power   908   3685132   09/16/2016   I believe they are a scam
205   Y       Wayne         NJ       Liberty Power   973   2211145   09/14/2016   I have previously asked them to stop calling but yet they continue to call. Today I said hello 2-3 times and they just hung up on me.
206   Y                     PA       Liberty power   877   2899925   09/12/2016
      Y       New Fairfield CT       Liberty Power   203   6439344   09/09/2016   They called 3 times on 9/7, 12:47 PM, 4:04 PM and 8:07 PM 9/9 at 2:42 PM. They have called before, but I can only go back a few days. I have repeatedly told them to stop
207
                                                                                  calling and take my number off their list. Please help!!!!
      Y       shiremansto PA         liberty power 717     2209125   09/09/2016
208
              wn
      Y       Brockton    MA         Liberty Power 413     2590127   09/08/2016   this company has been calling for months they only want to speak Spanish I told them I'm on the do not call list but they continue to call. I believe they are using a device that
209                                                                               makes up phone number to make it seem like they are local! if you try to call number back it won't work. They keep asking who is in charge of electric bill. PLEASE MAKE
                                                                                  THEM STOP
210 Y         Wayne        NJ        Liberty Power 973     2211145   09/07/2016
    Y         Plainfield   CT        Liberty Power 203     6439344   09/07/2016   I am tired of these harassing phone calls. I have told these people (can hardly understand them as they do not speak english very well) to STOP calling me as I have NO
211
                                                                                  dealings with this company. It is VERY frustrating when these calls just keep coming. Don't we as AMERICANS have any rights anymore? Please help me to stop these calls
      Y       WEST       PA          Liberty Power 717     2209125   08/31/2016   They are calling about my electric bill. I have never asked for anyone to call and I have never even checked out switching anything with my electric bill. The person calling
212
              MILTON                                                              does have a foreign accent but says they are based in Harrisburg PA
      Y       Framingham MA          Liberty Power 508     2021270   08/30/2016   As with previous instances, this started as a robocall, and I pushed "1" to speak to a live operator to get the company name and tell them they were in violation. First, they
213                                                                               denied that they had actually called - I asked how I was on the phone in that case. Then they denied that they were in violation while asking what was the DNC - I told them.
                                                                                  They then asked why I had purchased a phone if I didn't want anyone to call. I asked to speak to a supervisor, and they hing up.
      Y       Ithaca       NY        Liberty Power                   08/26/2016   This company has continued to call us on multiple occasions despite our demanding to be removed from their call list. What good is the Do Not Call List we get a barrage of
214
                                                                                  telemarketing calls. It almost seems like the Do Not Call List is actually a list for them to call from.
      Y       Bethlehem    PA        Liberty Power 717     8598748   08/26/2016   We continue to receive calls even though we have registered land line and cell phones to no call, what's the good? What ever the punishment, it doesn't seem to stop them
215
                                                                                  from making unwanted calls to seniors like me.
216 Y         Dracut       MA        liberty power   413   2590127   08/25/2016   The calls started back in January 2016, The caller continues to call offering to change the electric service, the caller only speaks Spanish, I have asked for the calls to stop
217 N         Bellingham   MA        Liberty Power   508   5615075   08/19/2016
218 Y         Boston       MA        Liberty Power   508   4590019   08/18/2016
    Y         Plymouth     MA        Liberty Power   508   8818573   08/16/2016   This is about the 15th call from them. I get one just about every day. It is a recorded message saying "Press "1" to get my Eversource discount". I've pressed one and got a
219                                                                               person and asked them to stop calling me or what company they are with and they usually hang up immediately. I finally got one of them to tell me the company name by
                                                                                  playing along with them. They make it sound like they are with Eversource if you ask them who they are.
      Y       Brookline    MA        Liberty Power 781     7210347   08/15/2016   I have been receiving phone calls from this and other "authorized energy suppliers" several times a day. Most are robocalls when you press a number to connect to an actual
220                                                                               person, and ask for their company name, they most often hang up. This is harassmentI am on the do not call list for a reasonbut these telemarketing robocalls for this, other
                                                                                  companies like it, and other different companies are getting out of control! Please outlaw this practice! Thanks (b)(6)
      Y       Belleville   PA        Liberty Power 866     7693799   08/12/2016   This was a call that was used to fraudulently acquire access to the electricity account of seniors. The caller used the answers to questions to set up a "voice contract" despite
221
                                                                                  the recipients being under the impression that it was an informational call.
      Y       Shippensbur PA         Liberty Power 724     6138531   08/10/2016   Called today at 1:19 pm. When I answered, I could hear the call center noises in the background but no one spoke to me. I hung up. Two minutes later they called again.
222           g                                                                   This time there was a person - I told her this was a Don not call number. That I don't do business with them and they should stop calling. They previously called me on 8/5
                                                                                  and I had told them the same thing on that call. They do not seem to want to stop bothering me.
      Y       Nutley       NJ        Liberty Power 973     5848548   08/09/2016   Caller wanted me to change my electric generation company. Told caller I was not interested and asked to be removed from list. This was the same company that contacted
223
                                                                                  me yesterday.
224 Y         Boston       MA        Liberty Power 866     7693799   08/05/2016
    Y         Brockton     MA        Liberty Power 781     7292582   08/04/2016   This company called me three times in one day using a robodialer from 718-475-9208, 508-639-1369, and 781-729-2582 selling solar panel solutions. Obviously spoofing the
225
                                                                                  telephone number. Last call I waited for an operator to answer. I asked the name of the company (Liberty Power) located in Ft Lauderdale, FL.
      Y                    NJ        Liberty         973   2211145   08/02/2016   Not sure of the name of the company, but learned they represent 27 companies that can supply electricity. They have called multiple times the past few weeks and I have
226
                                     Power?                                       asked them to put me on their company do not call list and informed them this number was no the national do not call registry.
227 Y                      PA        Liberty Power   724   6318531   07/29/2016   3 different numbers have called all within a week saying they are representing Liberty Power. Have asked all 3 to add phone number to do not call list.
    Y                      IL        Liberty Power   866   7693799   07/26/2016
228
                                     Holdings
      Y       Greenfield   MA        Liberty Power   413   2590127   07/26/2016   The Caller ID said: Amherst, MA. The woman said she was calling from Liberty Power.         This is the 5th call we've received this afternoon!! Personally, I'm tired of these
229
                                                                                  assholes calling!!
230 Y         Southwick   MA         Liberty Power 508     2021270   07/20/2016
231 Y         Allentown   PA         Liberty Power 724     6354308   07/21/2016
    Y         Easthampton MA         Liberty Power                   07/21/2016   I'm getting many calls from several power companies I keep telling them to stop calling but they continue. This call was from Scott Daniels, so he said. Also, getting many credit
232
                                                                                  card calls ditto above.
233 Y         Belleville   IL        Liberty Power 866     7693799   07/18/2016
    Y         Chicago      IL        Liberty Power 804     4912130   07/18/2016
234                                  Electric
                                     Company
      Y       Austin       TX        Liberty Power 481     7210844   07/15/2016   I have asked them to stop calling me at least 4 times and I am still receiving phone calls. I have probably received these phone calls for several months now. They say that I
235                                                                               qualify for a rebate (or something) because I am an Eversource customer. Eversource is an electric company I used in MA and I have lived in Austin since August 2015. I try to
                                                                                  explain this to the callers and they continue with their . I will try to record my calls in the future if they continue to call.
      Y       Westville    IL        Liberty Power 847     3159265   07/15/2016   They called and wanted my power bill account info and wanted all my personal information so they could switch me to their company. The caller spoke very broken English and
236
                                                                                  after I asked them to stop calling they called 3 more times from different numbers
237 Y         Chicago      IL        Liberty Power 815     3900015   07/12/2016
                                                 Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 15 of 23
          A        B             C          D          E        F           G                                                                                                     H
238 Y         Chicago      IL        Liberty Power 815     3900015     07/12/2016
239 Y                      CT        Liberty power 860     9152480     07/13/2016
    Y                      IL        Liberty Power 312     7625238     07/08/2016   This was a sales call / scam. The representative was trying to sell Liberty Power as a new energy supplier, but did so by saying they were with ComEd, my current supplier.
240
                                                                                    That was not true. It was fraud. Please stop them from calling my number.
241 Y         athens     NY          liberty power 877     4367162     07/08/2016   foreign calls 10 per day from rediculous companies
    Y         Homer Glen IL          Liberty Power 815     3900015     06/29/2016   This company has called me at least a dozen times. Every time I ask them who they represent they hang up but this time I lead the caller on far enough for him to tell me who
                                     Corp.                                          he represents. Liberty Power Corporation. I have repeatedly ask them not to call and they disconnect immediately. When I try to call their number back using caller I.D. it says
242
                                                                                    the number is not a working number. I want to prosecute these people to the fullest extent of the law. At least a dozen times and I am on the do not call list. Please contact me
                                                                                    if you need any other info. Thank You, (b)(6)
243 Y                      MA        Liberty Power   413   6282225     06/27/2016
    Y         aurora       IL        claims to be    815   3900015     06/27/2016   keep receiving phone calls from different #'s to lower comed power bills. call gets transfer to india call center. when you ask the name of the company they make something
244
                                     liberty power                                  up. when you ask where they are based they wont answer. have repeatedly told them # is on do not call list.
245 Y         Chicago      IL        Liberty Power   815   3900015     06/24/2016
    Y         Rockford     IL        Liberty Power   815   3900015     06/24/2016   I was called on 6/24/2016 at 2pm from 815-390-0015 with a robo call saying press 5. After pressing 5 I was immediately connect to an individual who said his name was
                                                                                    Cameron White. He mentioned Com Ed's name 5 or 6 times before stating the company he represented was Liberty Power. He used a run on sentence saying how he would
246
                                                                                    fix my electric bill pricing for 24 months and also send me a $50 gift card and would I would to get my gift card and move forward. I stated a number of times I do not want to
                                                                                    make a decision and he said I would have a 10 day period anyways. I am on the do not call registry. Why do they keep calling?
247 Y                      NY        Liberty Power         877289925   06/17/2016   They call multiple times a day and every day even after requesting to stop.
    Y         Colfax       IL        Liberty Power 773     3644191     06/13/2016   I have received numerous calls from this company over several months. Sometimes I press the number to ask not to be called again, other times I have told the caller, yet I
248
                                                                                    still receive the calls, typically from various spoofed phone numbers.
      Y       East         NJ        Liberty Power 201     2495491     06/13/2016   They say there selling cheaper electricity
249
              Rutherford
      Y       West         PA        Liberty Power 215     2772414     06/10/2016   They said they would lower my PECO rate and wanted my PECO account number. If they are a reputable company, why don't they honor the do not call registry?
250
              Chester
251   Y       Urbana        IL       Liberty Power   847   3159265     06/07/2016   Selling electrical power.
252   Y       Chicago       IL       Liberty Power   847   3159265     06/04/2016
253   Y       Barrington    IL       Liberty Power   847   3159265     05/31/2016   Asked them again to take me off list! Caller ID showed Deerfield IL but the man said he was in Des Plaines, IL working for Liberty Power.............
254   Y       Pekin         IL       Liberty Power                     05/23/2016
255   Y                     PA       Liberty power   877   2899925     05/24/2016   Calls daily
256   Y       Cottage Hills IL       Liberty Power                     05/20/2016
      Y       Wheaton       IL       Liberty Power   773   3368882     05/16/2016   The robot said that if I have paid my last 6 Commonwealth Edison (electric) bills on time and wanted to save 15% off my Commonwealth Edison bill I should dial "1". After I did
                                                                                    that, I was connected to a man who said his name was Jason Smith and had a VERY heavy Indian accent. Additionally I heard a delay after every thing I said so I'm pretty
                                                                                    sure I was talking to someone in India. He said he was an energy consultant for ComEd. When I asked him if he worked for ComEd directly, I got a run around until he finally
257
                                                                                    admitted that he worked for Liberty Power, a supplier to ComEd. I explained that I was on the do not call list and unless he worked for a company that I was presently doing
                                                                                    business with, he was breaking the law by calling me. I was professional and firm and told him I would report this call and wanted him to remove me from his calling list. He
                                                                                    then said "Go Fuck Yourself!" and hung up. This company and this employee need to be stopped immediately.
      Y       Lake Bluff   IL        Liberty Power, 866    7693799     05/10/2016   These guys just keep calling. Tired of it.
                                     https://www.li
                                     bertypowercor
258
                                     p.com/contact
                                     -us/

259   Y       mashpee      MA        liberty power                     05/10/2016
260   Y       northbrook   IL        Liberty power   866   7693799     05/06/2016   A recording first says if you are a com ed customer who pays their bills on time press 2, then this person, Brian tries to sell on their stuff.
261   Y       Urbana       IL        Liberty Power   224   2509923     05/06/2016
262   Y       Alton        IL        Liberty power   224   2509923     05/05/2016   They lie about who they are claiming to be Ameren and this was the tenth time I have called and put my number on the do not call list and they continue to call
      Y       Evanston     IL        Liberty Power   224   2509923     05/05/2016   I have asked them to take our number off of their call list repeatedly. Sometimes they are nice about pretending to do so, other times they've either sworn or bellowed 'no' and
263
                                                                                    hung up on me.
264 Y         North Aurora IL        Liberty Power 224     2509923     05/04/2016   It's a robo call asking me to press "1" to save money on my electric bill. They make it seem like it's ComEd call, but it's not.
265 Y         Elmhurst     IL        Liberty Power 224     2509923     05/03/2016
    Y         WILLOWBR IL            LIBERTY        224    2509923     04/29/2016   Foreign sounding person said they could lower my Comm Ed bill. Have asked them to stop calling me before but they did it again today. Said he was from Liberty Power.
266
              OOK                    POWER
267 N                      IL        Liberty Power 224     2509923     04/27/2016   I get a call from this group every 20 days or so and I always tell them to take me off their list and that my number it on the do not call registry.
268 Y                      IL        Liberty Power 224     2509923     04/26/2016
    Y         Forest Park IL         Unknown        224    2509923     04/25/2016   Robo call. I've received calls from this number over the past 6 months offering savings over com ed.
269                                  possibly
                                     liberty power
270 Y         Waterloo     IL        Liberty Power 224     2509923     04/22/2016
    Y         Lake Bluff   IL        Liberty Power, 866    7693799     04/18/2016   Another alternative energy provider.
                                     https://www.li
                                     bertypowercor
271
                                     p.com/contact
                                     -us/

272 Y                      IL        Liberty Power                     04/14/2016
    Y         LAKE IN      IL        Shopping      224     2509923     04/13/2016   Continue to ask to be removed from their calling list but they continue to call.
273           THE HILLS              Rewards /
                                     Liberty Power
274 Y         Chicago      IL        Liberty Power 224     2509923     04/12/2016   I have told these people three times that this number is on the "do not call" list, but they keep calling.
    Y         Chicago      IL        Liberty Power 224     2509923     04/01/2016   The automated recording stated that this is for ComEd customers and that I qualify for a 15% discount on my bill. When I pressed #1 to speak to a live representative, a very
                                                                                    rude man with a very heavy Indian accent would not tell me what company this is. After a couple of minutes of back and forth arguing he finally said it is "Liberty Power."
275
                                                                                    Liberty Power has called us repeatedly and we have repeatedly told them to stop calling, take us of their list, and that we are on the "do not call list" and will file a complaint.
                                                                                    This does not to deter Liberty Power and they keep calling us.
276 Y         SWANSEA      IL        Liberty Power 224     2509923     03/31/2016
277 Y         Worcester    MA        Liberty power 508     5566692     03/29/2016   Person has called every day for a week. I told him to take me off the list first day. Still calling
                                                 Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 16 of 23
          A        B             C          D          E        F         G                                                                                                  H
      Y       West          IL       Liberty Power 224     2509923   03/24/2016   Alexander was quite rude to me and ended up hanging up on me.
278
              Dundee
279 Y         Gurnee        IL       Liberty Power 224     2509923   03/22/2016   Sales call trying to get me to change my electric service. Lots of noise in background like a call center.
280 Y                       CT       Liberty power 860     2158001   03/21/2016
    Y         Easton        PA       Liberty Power 610     8654424   03/18/2016   I have told them I do not wish to sign up with them and told them to put me on their DO NOT CALL list. This is about changing my electric energy supplier. A man named Mark
281                                  Corp. LLC                                    Johnson (Said he was calling from Asia) threated to get me kicked off my PCAP Program because I refused him. They are using threating and harassing means to get you to
                                                                                  sign with them.
282 Y         Chicago       IL       liberty power 224     2509923   03/15/2016
283 Y         Tinley Park   IL       Liberty Power 309     8320753   03/14/2016   When I blocked the number 3098320567, they started calling from this number. I have told them not to call many times.
    Y         Tinley Park   IL       Liberty Power 309     8320567   03/14/2016   This company has been calling my elderly parents for about a year. I have instructed them not to call anymore on at least 3 separate occasions. They have tricked my mother
                                                                                  into agreeing to use their services multiple times. My mother has memory problems and can not remember they are scammers. If possible, I would like to file charges
284
                                                                                  because they have violated the do not call registry many times, even after being warned. Please contact me at (b)(6) if you need further information. I have power of attorney
                                                                                  for my parents and handle all of their financial business.
      Y       Niles         IL       Liberty Power 224     2509923   03/08/2016   The call started with a recorded message and then was forwarded to a live operator. I asked the operator for the street address of the company, but he only told me that the
285                                                                               company's URL is libertypower.com and that he was calling from northern Florida. The caller ID indicated that he was calling from Des Plaines, IL. He hung up on me before I
                                                                                  got a chance to tell him not to call me again.
      Y       Sherman       CA       Liberty power 978     5896589   03/03/2016   They keep calling me every week from a different number, in Spanish. Don't know how they got my number. I keep asking then to stop. I already read it's a scam.
286
              Oaks
      Y                     IL       Liberty Power 224     2509923   03/03/2016   This company called me two days ago and again today. The automated message gives the impression that they are ComEd. "As a ComEd customer you may qualify for a
287                                                                               discount on your bill" - paraphrasing. Then when you switch over to a live representative, they say the company is called Liberty Power. I've again asked to be removed from
                                                                                  their calling list and told them they shouldn't have called in the first place because this number is on the federal do not call list.
      Y                     IL       Liberty Power 224     2509923   03/01/2016   The recorded message said that I qualify for a discount on my People's Gas bill. When I asked for a live representative and asked him is this People's Gas, he replied that this
288
                                                                                  is Liberty Power and hung up on me.
      Y                     IL       Liberty Power 224     2509923   03/01/2016   The recorded message said that I qualify for a discount on my People's Gas bill. When I asked for a live representative and asked him is this People's Gas, he replied that this
289
                                                                                  is Liberty Power and hung up on me.
      Y                     MD       LIBERTY       877     2899925   03/01/2016
290
                                     POWER
291 Y         HOME          IL       Liberty Power 224     2509923   02/24/2016   lots of calls from energy companies wanting me to change to their service. please have them stop.
    Y                       IL       Liberty power 224     2509923   02/22/2016   Call was from India stating that they were affiliated with com Ed and could save me money on my bill. Wanted account number for my com Ed account and when refused was
292                                  via comed                                    very angry and rude. I aske for mail information but was refused. Liberty power was who they said was calling it was clearly a call center and had many other callers heard in
                                                                                  the background noise. Please do not let them call anyone anymore.
293 Y         Alsip        IL        Liberty Power 774     2080038   02/11/2016   These sales reps are very aggressive and do not listen at a simple no. One even claimed that I was already a customer of theirs.
    Y         Sherman      CA        Liberty Power 305     3968428   02/06/2016   It's the second time in a week this company calls me and I've asked them not to do so.
294
              Oaks
      Y       Williamstown MA        Liberty Power 508     9276673   02/03/2016   Called around 1:55PM asking about my electric company and if I knew about lower rates to lock-in.
295
296 Y         Shrewsbury MA          Liberty Power 508     9276673   02/02/2016   Receiving multiple calls from this company after asking them to stop. Appears on the caller ID as a fictitious number.
297 Y         Orland Park IL         Liberty Power 224     2509923   02/02/2016
    Y                     CT         Liberty Power 877     2899925   02/01/2016   This seems like it's not actually Liberty Power calling. An "out of area" number calls and someone with a heavy indian accent calls claiming they are Liberty Power, but Liberty
298
                                                                                  has posted on their website that there is a scam claiming to be them. They call multiple times a day even though we have asked to be taken off their list.
299 Y                                Liberty Power   877   2899925   02/01/2016   Liberty Power called twice today. Both callers had Indian accents. The second call was at 4:06pm.
300 Y         Batavia       IL       Liberty Power   224   2509923   01/29/2016
301 Y                       MA       Liberty Power   877   2899925   01/28/2016
    Y         Hamburg       PA       liberty power   877   2899925   01/26/2016   I called them on 1/25/16 and asked them to stop calling me - this after at least 4 calls per day, every day. I told them to take my name off their list and they said they would.
302
                                                                                  Then, on 1/26/16, I received another 2 calls before 1015am. Make them stop!
      Y       Norwell       MA       Liberty Power, 617    6124449   01/26/2016   I have received 4 calls from this company over the past 6 months. Each time I have asked them if they have heard of the "Do not call list" and they have said they have. I said
303
                                     FL                                           please delete my number from your call list. They said they would and hung up. Then a month later they call again.
      Y                     MA       Liberty Power 877     2899925   01/25/2016   I answered, there was a pause, they asked to speak with person who handles electric bill I asked who was calling. He gave a first name I couldn't understand. He sounded like
304
                                                                                  he was from India and that he was with Liberty Power. I've never heard of liberty power. Our town has their own electric company.
      Y       Dayton        PA       Liberty power 877     2899925   01/20/2016   We have received numerous calls from Liberty Power. They are very persistent . Each time we have told them to not call us back to no avail. We redialed the number after
305                                                                               speaking to the representative and left a message telling them to remove our number from their call list. They continue to call. I would appreciate any help to get this company
                                                                                  to stop calling us. Thank you. Sincerely
      Y       Prairie View IL        LIBERTY         224   2509923   01/18/2016   SEVERAL CALLS AND REQUESTIED BEING REMOVED ALWAYS ASKING FOR INFORMATION THAT I WILL NOT PROVIDE
306
                                     POWER
307   Y       Orland Park IL         Liberty Power   224   2509923   01/07/2016   Tried to tell me I was eligible for all extra charges to be taken off my ComEd billing for next 24 months if I went with Liberty Power. Caller ID only indicated Des Planes, Il.
308   Y       Chicago     IL         Liberty Power   866   7693799   01/05/2016   Recorded message asked you to press # I did, spoke w/ someone possibly in India. Told him to remove from call list, that it was illegal. He said, "I understand."
309   Y                   MA         Liberty Power   815   7707145   12/30/2015
310   Y       Beltsville  MD         Liberty Power   410   8810504   12/30/2015   This person call daily harrasing me
      Y                   IL         Liberty power   224   2509923   12/29/2015   Caller ID said Des Plaines, IL. Received a call from this number, got a recording that said if I made my ComEd payment on-time for the last 6 months I was eligible for a 15%
311
                                                                                  discount.
312   Y       Chicago       IL       Liberty power   708   8984876   11/27/2015   This company has continued to call me and solicit my buisiness after repeated being told to stop.
313   Y       Aurora        IL       Liberty Power   708   8984876   11/19/2015   Asked if i spoke Spanish and hung up.
314   Y       Roscoe        IL       Liberty Power   312   9404286   11/11/2015
315   Y       Chelsea       MA       Liberty Power   857   3276921   11/05/2015   This company keeps calling over and over again.
316   Y       Homewood      IL       Liberty Power   312   9404286   11/05/2015
317   Y                     NY       liberty power   877   2899925   10/21/2015   they calling me almust evry day u may contact me @ (b)(6)
      Y       Agawam        MA       Liberty Power   617   4090593   10/15/2015   Probably a year ago I said I would use their service. I had a number of days to change my mind and I did. When the paperwork arrived in the mail 3 days later, I did not fill it
318                                                                               out. I called and canceled the electrical power service. No paperwork was filled out and nothing sent. They have called me many times since and each time I tell them I don't
                                                                                  want their service, stop calling and they hang up, but still continue to call.
      Y       Chicago       IL       Liberty Power 312     9404340   10/12/2015   Was switched to a live representative, "Mark," who said he represented Liberty Power. He went through three bogus questions and told me I was eligible for a 15% discount
319
                                                                                  on my electric supply for the next two years.
      Y       RIO           NJ       Liberty Power 201     4145952   09/22/2015   This person called and said they can give us a better deal than Atlantic City Electric. I said to provide a quote and he told me he could not provide a quote. I told him that we
320           GRANDE                                                              have been on "Do Not Call Registry" since 2009 and he is breaking law. I do not know if the phone number which came up on our caller ID is the correct number for this
                                                                                  company, since he refused to provide me with his callback number.
                                                   Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 17 of 23
          A         B            C           D              E        F          G                                                                                                   H
      Y                     NJ       Liberty Power    609       7984003    09/14/2015
                                     Energy
321                                  Supplier of
                                     Egg Harbor,
                                     NJ
      Y                     NJ       Liberty Power    609       7984003    09/11/2015
                                     Energy
322                                  Supplier of
                                     Egg Harbor,
                                     NJ
      Y       Cherry Hill   NJ       Liberty Power    609       7984003    09/11/2015   Address of the company that called me: Address: 1901 W Cypress Creek Rd #600, Fort Lauderdale, FL 33309 Phone:(866) 769-3799
323
                                     Corporation
324 Y         streamwood IL          Liberty Power    312       8095220    09/11/2015   They keep calling and hang up on me when I tell them I am on the do not call list. They try to make you think they are from ComEd.
    Y         SOMERDAL NJ            LIBERTY          609       7984003    09/11/2015   AGAIN, THESE PEOPLE HAVE CALLED MY PHONE ASKING FOR SEVERAL DIFFERENT PEOPLE. I'VE TOLD THEM TIME AND AGAIN TO STOP CALLING.
325
              E                      POWER
326 Y         cherry hill NJ         liberty power    609       7984003    09/11/2015
327 Y                     NJ         Liberty Power    609       7984003    09/09/2015
328 Y         Garden City NY         Liberty Power    877       2899925    09/09/2015   This call was asking for confidential info about power bills. They should be blocked
    Y                     IL         Liberty Power    815       3205002    09/04/2015   The phone call began with a robocall that claimed I can get a discount on my ComEd (electric utility)bill. When I spoke to a live representative, he didn't want to give me the
329                                                                                     name of his company at first. Finally he said it's Liberty Power in Chicago. He spoke with an Indian accent. I asked to be removed from their list and also that I'm on the
                                                                                        "National Don Not Call Registry."
330 Y         Sewell      NJ         Liberty Power 609          7984003    09/03/2015   Female caller claimed to be from Liberty Power, a green energy supplier, asking for the person responsible for the electric bill. Caller ID read "Egg Harbor C, NJ"
    Y         South       CT         Liberty Power 754          2053123    09/02/2015   Company claimed to be unaware of Federal do-not-call restrictions.
331
              Glastonbury
332 Y                     NJ         Liberty Power 888          5315596    08/31/2015   Sales rep Kayce von Dolteren called offering to switch me to Liberty Power as my electric power provider. I'm on the DNC list...are they allowed to do this? J
    Y         Providence RI          Liberty Power 877          4367162    08/18/2015   This company keeps calling from different numbers, sometimes it is a private number, sometimes not. The number given to me by the person who keeps calling is 877-436-
333                                                                                     7162 ext. 4567. They have called repeatedly even though I keep asking them to stop. They are trying to sell electricity and are very insistent about speaking to someone
                                                                                        about the rates. I speak to a live person every time, it is not a robocall. When I ask them to stop calling I get an "OK" but they call back the next week.
      Y                     IL       LIBERTY                               08/13/2015   Change from Com Ed scam THEY HAD MY NAME AND ADDRESS!!!
334
                                     POWER
      Y       Jackson       NY       Liberty power    646       7796616    08/13/2015   Calling me everyday and bothering me.
335
              Heights                supply
336 Y                       NJ       Liberty Power    973       8415074    08/13/2015   I have been receiving similar calls from many companies trying to sell me Electric supply. They all seem to have knowledge that I am an Atlantic City Electric customer.
337 Y                       NJ       Liberty Power    973       8415074    08/10/2015
    Y         OXFORD        NJ       LIBERTY          973       8415074    08/07/2015
338
                                     POWER
339   Y                     IL       liberty Power    866       7693799    08/06/2015   Called about switching electric companies.
340   Y                     IL       Liberty Power    945       5987090    07/31/2015
341   Y       Cos Cob       CT       liberty power    877       2899925    07/30/2015   Tried to call number back to speak tosomeone and was directed right into a recorded message and then placed on hold. Hung up after 40 minutes.
342   Y       Old Lyme      CT       Liberty Power    888       5315596    07/29/2015   The phone number CALLED was (b)(6). I would prefer to be reached at (b)(6)
343   Y                     NY       Liberty Power    877       2899925    07/28/2015   I have asked this company not to call several times, but they persist.
      Y                     IL       Liberty Power    866       7693799    07/27/2015
344
                                     Company
345 Y         Rocky Hill  CT         Liberty Power    877       2899925    07/24/2015
    Y         Takoma Park MD         Liberty Power    866       7693799    07/23/2015   Caller ID was blocked for the incoming call. Claimed to be a supplier for ComEd. Identified themselves as Liberty Power when I asked. I have done no business with this
346
                                                                                        company.
347 Y                       CT       liberty power?   877       2899925    07/22/2015   They have been calling several times per week for several months.
348 Y         nyc           NY       liberty power    347       5473524    07/18/2015
349 Y                       PA       Liberty Power    866       7693799    07/14/2015
    Y                       CT       Liberty Power    860       3788930    07/13/2015
                                     (callerID:
350
                                     SOUTHINGT
                                     ON CT)
      Y       Stafford      CT       liberty power    860       3788930    07/08/2015   Although I spoke to a live person, it was a few seconds after I said Hello before anyone responded. There was a slight "beep" prior to anyone talking. So it MAY have been a
351
              Springs                                                                   robocall and then switched me to a real person when it heard the Hello.
352 Y         Newton        NJ       Liberty Power 609          2255262    07/07/2015   They call every week even though I keep telling them I am not interested.
353 Y         Flemington    NJ       Liberty Power 609          2255262    07/06/2015
    Y         Plainfield    IL       Liberty power 312          3405562    07/02/2015   I continue to receive robo-calls, even after asking them to stop calling or to be removed from their calling lists.
354
                                     -Illinois
      Y                     CT       Liberty Power              8665423789 07/01/2015
355
                                                                7693799
      Y       East Hartford CT       Liberty Power 860          3788930    06/30/2015
356
      Y       New Britain   CT       Liberty Power, 860         3788930    06/25/2015   Company selling Electric Power. They call almost every day at approximately 2PM. They have repeatedly been asked to remove our numberit hasn't happened yet. An internet
                                     Southington                                        search shows that number to be served by Level 3 Communications in CT. Maybe Level 3 Communications should be held liable for this bull!
357
                                     CT

      Y       Harwich       MA       Cambridge        857       3059424    06/24/2015   Can offer me low utility rates based on new law passed, sure wish the law included that these companies MUST honor do not call registry, as they said I must register with
                                     aka Liberty                                        THEM to be on a do not call list. So again the 4 th call today to decrease my utility bill, sure wish u didn't pass the law as it would pay anything to stop these daily calls!! I
358
                                     Power                                              calledthe office at 727-940-8624, which is just a voicemail "Hello, Please leave a message". yea, like I'm going to request they call me, duh! Ps that Florida # is Utility Discount
                                                                                        Group, Palm Harbor, Fl 38543
359 Y         New Britain  CT        Liberty Power                         06/23/2015
360 Y                      IL        Liberty Power 312          3405561    06/17/2015
361 Y         Wethersfield CT        Liberty Power 866          7693799    06/18/2015   Liberty Power claims to maintain their own Do Not Call List however they obviously do adhere to the requirements of the National list.
    Y                      NJ        Liberty Power 866          7693799    06/16/2015   This is a supplier for electricty I have asked many, many times to stop calling me that was my contract is up I will be using a different supplier but they keep insisting to try to
362
                                                                                        get me to stay on as their supplier.Now I switch over to another supplier and this company still is calling me I hung up on them. I hope you can do something Thank you
                                                 Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 18 of 23
          A         B            C          D          E        F         G                                                                                                 H
363 Y         Palatine      IL       Liberty Power 312     3405561   06/16/2015
    Y                       MA       Liberty Power 866     7693799   06/15/2015   I am an elderly woman and this company is preying on me. They tell me (even though I have not signed any paperwork) that my voice recording binds me into a contract with
364
                                                                                  them. They are forcing me to use them for my 2nd party power supplier. I want them to leave me alone!!!!!
      Y                     IL       Liberty Power   312   3405561   06/11/2015
365                                  (Ft.
                                     Lauderdale)
366 Y         New York NY            Liberty Power   315   2903147   06/05/2015   They offered to switch my electricity provider
367 Y                  MA            Liberty Power   978   6311021   06/04/2015
    Y         PLYMOUTH MA            Liberty Power   508   9306907   06/04/2015   Called again and again. Finally answered them and a woman started to tell me about Liberty Power and how I can save money on electric bill. Been there. done that. GEt them
368
                                                                                  to stop.
369 Y                       IL       Liberty power                   06/01/2015   electric rate scam
    Y         Crestwood     IL       members       312     3405562   05/31/2015
370                                  services
                                     Liberty Power
371 Y         Westwood      MA       Liberty Power 617     5539619   05/22/2015
    Y         stafford      CT       liberty power 718     2853924   05/14/2015   The call ID only says New York. I have received multiple phone calls from Liberty Power about reducing my electric bill and every time I have asked them to remove my name
372
                                                                                  from the call list. They keep calling from different numbers.
      Y       Waltham       MA       Liberty power                   05/14/2015   Upon receiving this call, I asked "who is calling, please?" When the male voice at the other end identified Liberty Power, I informed him that this phone number was on the Do
373                                                                               Not Call registry, that I had never done business with his company, that they had no right to violate the Do Not Call stipulations, and that I would be immediately filing a
                                                                                  complaint on my computer.
374 Y         Watertown     MA       Liberty Power   866   7693799   05/13/2015   Liberty Power called twice each time said not Interested hope they get message. I have Ever source for Electric
    Y         Marshfield    MA       Engel Liberty   508   5566756   05/08/2015
375
                                     Power
376 Y         mattapoisett MA        liberty power   508   5566756   05/01/2015   i tried calling this number back and it is "not in service." when i asked them to take us off of the list, they hung up on me.
    Y         Plymouth     MA        Liberty Power   708   5294723   04/29/2015   Liberty Power has called me several times. I have asked nicely (3 times) to remove me from their list. That is not happened nor do I expect it will. PLEASE help me! I am
377
                                                                                  happy to answer any questions you have.
378   Y       Worcester     MA       Liberty Power   888   5315596   04/28/2015   Asked them to stop calling. They are very rude and continue to call.
379   Y       Barnstable    MA       Liberty Power   708   5294723   04/24/2015   I am a staunch DO NOT CALL member. I want accountability.
380   Y       Springfield   MA       Liberty Power                   04/24/2015   I have asked them to remove my telephone number and not call me again. They just hang up the telephone without a word and the calls continue.
381   Y       stafford      CT       liberty power   876   2899925   04/24/2015   Call ID says 800 service. Asked caller to remove my name and number from their list but he persisted to try and keep me on the line.
      Y       Cambridge     MA       Liberty Power   708   5294723   04/20/2015   I received an automated call saying that I might be eligible for lower electric rates and was told to press 5 to speak to a customer service representative. The automated
382                                                                               message did not identify the company. When I reached a person, I asked the name of the company, which he gave, and the phone number at that point he hung up on me. I
                                                                                  found the number by dialing *69.
383   Y       Mashpee       MA       Liberty Power   508   8863410   04/10/2015   The minute I mentioned the "do not call" list they hung up
384   Y       Florence      MA       Liberty Power   314   3229999   04/07/2015   A man named something like Gerard said he could lower our electric rates for a certain period of time.
385   Y       New Milford   CT       Liberty Power                   04/07/2015
386   Y       New Milford   CT       Liberty Power                   04/07/2015
      Y       weymouth      MA       Liberty Power   866   7693799   04/07/2015   these companies call to try to solicit changes in power. someone took the call and said yes but they said we can cancel with in 3 days. called them back the next day to say we
                                     of 1901 w.                                   dont want any part of them and to tell them we are on the do not call list and they shouldn't be calling,. a guy in phillipines said Id have to call back in 2 or 3 days.
                                     Cypresscre
387
                                     Fort
                                     Lauderdale,
                                     Florida
388 Y                       MA       Liberty Power   888   5315596   04/01/2015
389 Y         Oakdale       CT       Liberty Power   877   2899925   04/02/2015   They also called on 04/01/2015 at 1007 (am) and again on 04/02/2015 at 0958(am).
    Y         West          CT       Liberty Power   877   4367162   04/02/2015   Person ID self as Roger DeSusa [sp] from "Liberty Power" called to have the office change electrical service suppliers. Call back 877-456-7162 ext 4561. This was a cold
390
              Hartford                                                            marketing call since we have record of doing business with this entity.
391   Y       Syracuse    NY         Liberty Power   877   2899925   03/31/2015
392   Y                   MD         Liberty Power   877   2899925   03/31/2015
393   Y                   MD         Liberty Power   877   2899925   03/31/2015
394   Y       Ridgefield  CT         Liberty Power   203   5380930   03/26/2015
395   Y       longmeadow MA          Liberty Power   617   5539619   03/25/2015   Told them they were being reported...they claimed multiple locations....i said go by do not call and it should not matter
396   Y       Springfield MA         Liberty Power   978   6310289   03/12/2015   They claimed to be calling from a power company about my electric bill, but my electric is included into my rent, so I don't have a bill.
397   Y       Medway      MA         Liberty Power   617   2063357   03/10/2015
398   Y       Medway      MA         Liberty Power   866   7693799   03/10/2015
399   Y                   MA         Liberty Power                   03/11/2015
      Y       North       CT         Liberty Power   877   2899925   03/06/2015   Live person requested to speak with the person involved with paying electrical bills. I said I wasn't interested and requested to be removed from their list.
400
              Stonington
401 Y         Canton      MA         Liberty Power 617     2063357   03/05/2015
    Y         Gold Canyon AZ         Liberty Power 860     7916711   03/05/2015   Person hung up on me before I could tell him this number is on the federal do not cll list.
402
403 Y         Medfield      MA       Liberty Power   617   2063357   03/05/2015   Caller identified himself as Saveid Rapp. He said he called from "Liberty Power". He said his callback number is 888-531-5596.
    Y                       CT       Liberty Power   860   7916711   02/27/2015
                                      (callerID:
404
                                     MEMBER
                                     SERVICES)
405 Y                       MA       Liberty Power   888   7242966   02/27/2015
    Y         Niantic       CT       Liberty Power   866   7693799   02/24/2015   I do not know the number they called from. But I verified the identity of the company to my satisfaction. They are competing for CL&P customers. They are based out of Ft.
406
                                                                                  Lauderdale.
407   Y                     CT       Liberty Power   661   4340655   02/23/2015   Saying they were calling all Connecticut Light and Power customers to offer a better deal. Caller ID had LAMKTG but caller identified the company as Liberty Power.
408   Y       New Britain   CT       Liberty Power   860   7916711   02/21/2015
409   Y       Stonington    CT       Liberty Power   877   2899925   02/18/2015
410   Y       Stonington    CT       Liberty Power   877   2899925   02/17/2015
411   Y       Wilton        CT       Liberty power   877   2899925   02/17/2015   They wanted us to change electric suppliers. I told them we were on the do not call list. We both hung up.
                                                  Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 19 of 23
          A        B              C          D          E        F          G                                                                                                    H
      Y       Stamford       CT       Liberty Power 877     2899925    02/13/2015   I have REPEATEDLY told them to stop calling. They call multiple times per day, after I tell them not to call I am assured at least one or more call back/hangups from them. My
412
                                                                                    number is on the do not call list. They are clearly not referring to that list and are abusive in nature.
      Y       West           CT       Liberty Power         1166143406 02/12/2015   This was a spamed number but it was definitely identified as Liberty Power. She played dumb when I said I am on the do not call list. She said there is no reason to report
413
              Hartford                                      55                      them.
414 Y         Wallingford    CT       Liberty Power 203     5380930    02/11/2015   Caller ID showed up as "Quality Care" Person on the phone said his name was Sean and that he worked for Liberty Power
    Y         Westport       CT       Liberty Power 203     5380930    02/10/2015   PLEASE STOP THESE CALLS!!!! This is the 100th time I have reported them.
415                                   in Fort
                                      Lauderdale
      Y       Thomaston      CT       Liberty Power 877     2899925    02/06/2015   I have received several calls recently from this company, Liberty Power.Most recent is today at 10:45am. My telephone numbers are on the Do Not Call List for several years.
416
                                                                                    This company is a scam and I do not want to receive calls from them.
417   Y       Danielson CT            Liberty Power   866   7693799    02/03/2015   Liberty Power has called almost every day for the last 3 weeks ask for me to change power company and I have ask them to stop calling and they will not
418   Y       Killingworth
                        CT            liberty power                    02/02/2015
419   Y       Salem     CT            Liberty Power   877   2899925    02/02/2015   This 800 Service phone number will not stop calling my home number. I have told them to stop calling and yet they continue to do so at all hours of the day.
420   Y                 NJ            Liberty Power   201   2348516    01/29/2015
421   Y                 DC            Liberty Power   877   2899925    01/28/2015
422   Y                 CT            Liberty Power   661   4340655    01/28/2015
      Y       New Haven CT            Liberty Power   860   7267903    01/27/2015   This is some power company with its main office in Florida and an office in Connecticut. They speak poor Englisk. They are rude and I have asked repeatedly that they do not
423
                                                                                    call me. You may audit my cell phone for verification.
      Y       Williamstown NJ         Liberty Power 201     2348516    01/23/2015
424
      Y       Merrick        NY       Liberty Power 877     4367162    01/26/2015
425                                   of Ft.
                                      Lauderdale
      Y       plymouth    PA          Liberty Power 210     7645008    01/23/2015   first call was this afternoon. I told them i was on the do not call list, and that I would be reporting it.
426
              meeting
427 Y         New Milford CT          Liberty Power 860     7267903    01/20/2015   Liberty Powers has been calling between one and three times per day for the last few weeks. Enough is enough!
    Y         Pottstown   PA          Liberty Power 877     7266421    01/16/2015   Have been receiving calls all week. Some have identified themselves as 800 service. This is the first one where I got a legitimate call back number (I think) and the name of a
428
                                                                                    company.
      Y       Grafton        MA       Liberty Power                    01/16/2015   Time: Fri, 16 Jan 2015 14:12 Company: Liberty Power Presumably this is: Liberty Power Corp., LLC Phone: (866) 769-3799 Caller: Human male I hung up. No
429
                                                                                    transaction was begun or completed.
      Y       Bridgeport     CT       Liberty Power 860     7267903    01/16/2015   This company calls me almost every day offering me service for electricity, I have told them on several occasions not to call me, and to put me on their do not call list, but they
430
                                                                                    still call anyways, this has been going on for over 3 weeks now.
      Y       Danbury        CT       Liberty Power 860     7267903    01/13/2015   They only speak Spanish and hang up on you when you cannot speak Spanish back to them. Sounds like a "boiler room" operation. I called back and asked for a supervisor.
431
                                                                                    I spoke to "Mariella Flores" and told her not to call again. We shall see if that works. This company calls nearly every week.
      Y       AMHERST        MA       Liberty Power 413     6253379    01/07/2015   My phone number that received this call has the ringer shut off. If you need to contact me by phone, that can be done on my cellphone at (b)(6). By email at (b)(6). You may
432
                                                                                    have some aol email addresses on file but they are no longer being used.                  thank you              jf
      Y       WHITE          MD       Liberty Power 443     6200380    01/02/2015   Robo-call then talked to a person to get the name of the company. Callid ID said Service Care but the person said Liberty Power.
433
              HALL
434   Y       Agawam         MA       Liberty Power                    01/02/2015
435   Y       Agawam         MA       Liberty Power                    12/31/2014   computer dialed, when I say hello I am connected to a call center-they ask for the person responsible for the electric bill.
436   Y       Shelton        CT       Liberty Power 203     2785038    12/19/2014
437   Y       Cambridge      MA       Liberty Power 866     7693799    12/18/2014   I have received repeated calls.
      Y       Revere         MA       Liberty Power 866     7693799    12/17/2014   I received a call with a Caller ID of LA MKtg and phone # 1-661-434-0655 claiming to be representing Liberty Power when I told them we are on the DNC list they said they
                                                                                    would put me on their DNC list. I said I didn't want the first phone call and they hung up. When I called Liberty Power to ask them if they made sure none of their or their
438                                                                                 marketing companies out going calls violated the DNC list they wouldn't give me a clear answer. And then they put me on hold and then hung up. This is teh second alternative
                                                                                    power company that called in the last two weeks violating the DNC list. I can't tell if the comapnies are violating the list or if scammers are using the power companies as a way
                                                                                    to scam us. But we would like to see the FTC step up and track down these companies. Thank you.
439   Y                   CT          Liberty Power   860   3195320    12/16/2014   "May I speak to the person that pays the electric bills?"
440   Y       Summit      NJ          Liberty Power   877   4367162    12/11/2014
441   Y       Waterbury   CT          Liberty Power   860   3195320    12/09/2014
442   Y                   MD          Liberty Power   855   4193586    12/05/2014   Asked week and a half ago to stop calling us.
      Y       Takoma Park MD          Liberty Power   443   6200380    12/03/2014   Cold call. They tried to trick me into believing they were with my utility company but I knew to ask them which company they were with and why were they calling me. I also
443
                                                                                    informed them that I was on the DNCR and to remove me.
      Y       North          MA       Liberty Power 978     8671241    12/02/2014   This company has called a number of times. I don't answer. I would like them to stop calling!
444
              Billerica               Corp
      Y       Columbia       MD       Liberty Power                    11/26/2014   Received an automated call about lowering my electric bill. Curious as to the company, I pressed 5 to speak with someone. Eventually, a non-native English speaking woman
                                      Corp                                          came on the line wanting to sell me lower rates. But, I interrupted her and asked the name and address of the company she represented. She said Liberty Power Corp., 1901
445                                                                                 West Cypress Creek Road, Ft. Lauderdale, FL. I then told her that my number was on the Do Not Call list and, as I had no previous business dealings with her company, they
                                                                                    were violating FTC regulations by calling me. I also asked her to put me on their do not call list. Later, I found the Liberty Power website and it listed a contact number of 1–
                                                                                    866–769–3799.
      Y       Columbia       MD       Liberty Power                    11/26/2014   Received an automated call about lowering my electric bill. Curious as to the company, I pressed 5 to speak with someone. Eventually, a non-native English speaking woman
                                      Corp                                          came on the line wanting to sell me lower rates. But, I interrupted her and asked the name and address of the company she represented. She said Liberty Power Corp., 1901
446                                                                                 West Cypress Creek Road, Ft. Lauderdale, FL. I then told her that my number was on the Do Not Call list and, as I had no previous business dealings with her company, they
                                                                                    were violating FTC regulations by calling me. I also asked her to put me on their do not call list. Later, I found the Liberty Power website and it listed a contact number of 1–
                                                                                    866–769–3799.
447 Y         Glenelg        MD       Liberty Power   866   7693799    11/24/2014   We are on DO NOT CALL REGISTRY. Liberty called my house, spoke to an elderly member, then began their process to change our electric account from BGE to Liberty.
448 Y         Hermitage      PA       Liberty Power   857   4440140    11/18/2014   Caller said she was from Liberty Power, a green power supplier, and was calling all Pa residents. I have no established business relationship with this company
449 Y         Crownsville    MD       Liberty Power   855   4193586    11/13/2014
    Y                        MA       Liberty Power   857   4440140    11/12/2014   I received a call from Liberty Power today. They were acting as if they were my present electric company and wanted me to verify personal information in order to lock in a new
450
                                                                                    lower rate. When I asked what their company's name was, I realized this was not my electric company. I told them I was on the do not call list and they hung up on me.
451 Y                        MA       Liberty Power 857     4440140    11/07/2014
    Y         Dartmouth      MA       Liberty Power 857     4440140    10/31/2014   This was the 3rd call I have gotten in the last week. I told the 1st caller to send me the info in mail, he became argumentative and hung up. I told 2nd caller the same thing and
452                                                                                 I was not interested w/o written info and told him to take me off call list. 3rd caller today was told the same thing. Was very condescending. Kept pursuing despite my telling him
                                                                                    not interested. I am also wondering how this company would get my phone number if I was on the FTC's Do Not Call list. PLEASE ADVISE
                                                Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 20 of 23
          A         B           C          D          E        F          G                                                                                                    H
      Y       Baltimore    MD       Liberty Power 443     6200380    10/29/2014   The robocall was inviting BGE customers to "lower energy costs". They invited to press 5 to speak to someone, and I did, waited a couple of minutes on hold and spoke to an
453                                                                               "Energy consultant" named Claire. She offered to put me on *their* D.N.C. list, and I had her do that. I asked her if they respect the national do not call list, and she said that
                                                                                  they do not use that. She did not seem to know about it.
      Y       Pittsburgh   PA       Liberty Power 877     4367164    10/29/2014   I have asked them repeatedly to stop calling. We have no use for their services and we have never done business with them. If I tell them no or disconnect the call, they keep
454
                                                                                  calling back and harassing the office. I have also emailed the company and not received anything back.
      Y       Pittsburgh   PA       Liberty Power 877     4367164    10/28/2014   The call every day. They have been notified not to call us and that we are on this list, but it has not relieved the calls as of yet. Once they called back repeatedly in one day
455
                                                                                  because we said we weren't interested and disconnected the call before they could object. They are trying to sell "lower rates" on your energy supplier.
      Y       Beverly      MA       Liberty Power 857     4440140    10/23/2014   They called asked to speak with "the person that handles the National Grud bills" and I asked who they were "Liberty Power, a green energy company" was the answer. I
456                                                                               informed them that I am on the DNCR and they said they would remove me. I've been hearing reports of scams in town from supposed power companies with unsolicited
                                                                                  calls.
      Y       Westford     MA       Liberty Power 857     4440140    10/22/2014   After a delay when I answered the phone, a man came on the line, said he was with "Liberty Power" and started talking about energy prices. I interrupted and asked if he
                                    (listed as MA                                 bothered to check the National Do Not Call Registry to see that I am on the Do Not Call list, but he just said I am "not on his computer list", which he had in front of him. That
457
                                    Energy on                                     sounded like a Do Not Call List for his business, but I said his company needs to pay attention to who's on the National Do Not Call Registry list, too.He agreed to put me on
                                    Call Log)                                     HIS list, but I said his company is supposed to check the National list, too - he just said he was "doing his job".
458 Y                      MA       Liberty Power 978     8671241    10/15/2014   This company keeps calling with rude and persistent agents trying to switch customers from National Grid
    Y         Baltimore    MD       Liberty Power 973     2737827    10/10/2014   Representative "Adam Jones" refused to provide manager or corporate address, said they are from Dallas Texas. Violation of Do Not Call List. calling the number shown on
459
                                                                                  caller ID allows only "press 1 to be put on our do not call list" but this company is violating the Federal Do Not Call List by even calling my number.
460 Y                      MA       liberty power   888   5315596    10/07/2014
    Y                      IL       Liberty Power   773   3404486    09/30/2014   Eric wanted to argue that this was not a sales call!!
                                    Supply /
461
                                    Chicagozn08
                                    IL
462 Y         Natick       MA       Liberty Power   978   5284968    09/29/2014
    Y         Auburn       MA       Liberty Power   508   9347387    09/15/2014   This is their website: http://www.libertypowercorp.com/
463
                                    Corp
      N       Brooklyn     NY       Liberty Power   518   3096550    09/08/2014   I have been receiving "robo-calls" with no messages from this company from 2 different numbers for the past 2 months, here are the latest: 1) 518.309.6550 on 9/8 @ 8:12pm,
464                                                                               2:47pm & 2) 443.487.4118 on 8/30 @ 2:44pm, 10:30am 8/29 @ 1:35pm 8/28 1:38pm On 8/30 spoke to supervisor Rolando Santana (443.487.4118) who promised me my #
                                                                                  would be removed from his list, then they started calling from another # and I spoke to supervisor Fausto Duran (518.309.6550) who said the same thing.
465 Y         glastonbury CT        liberty power 877     4367162    08/25/2014   please follow through on this. the do not call list is not well respected by telemarketers.
466 Y         Worcester   MA        Liberty Power                    08/20/2014   They wanted to talk to the person who pays the electric bill. I assume they wanted us to switch to their electric service. I did not talk to them about it.
    Y         Springfield MA        Liberty Power 413     6505015    08/15/2014   I was called at 12:09 PM on Aug. 14, 2014 by Mr. Charrez. I answered the phone to tell them that I am on the do not call list. He said that my power company authorized him to
                                                                                  call me because I had to pick a power supplier to protect my rate. I had the feeling that this was a mandate from the government or my power company (WMECO) and he
                                                                                  implied that this was in conjunction with WMECO wishes.He Knew my bill format and lead me all over the bill to look at various items. Then he told me that my current rate is
467
                                                                                  0.13844 and that he can keep me at this rate for 48 months. He seemed irritated that I was skeptical and reluctant to take advantage of this program. then he said if I cancel
                                                                                  this program it would cost me $10.00 a month. I told him I was not interested and do not sign me up. I want no part in anything I have to pay to get out of. He was abrupt and
                                                                                  said he would not submit the application. His name is David Charrez 888-531-5596 from Liberty Power. This is why I want the do not call.
      Y       Lee          MA       Liberty Power 413     3586751    08/01/2014   Caller refused to give his name. Claimed he was our power provider, but we don't do business with Liberty Power, we use WMECO. He didn't know the name of the person he
468
                                                                                  was looking for.
469 Y         Worthington MA        Liberty Power 413     2402029    07/25/2014
470 Y         Agawam      MA        Liberty Power                    07/22/2014
    Y         Lancaster   NY        Liberty Power         6073054310 07/16/2014   Again, my number is on this registry yet I continue to get unsolicited phone calls
471
                                                          3
472 Y         Corning      NY       Liberty Power                    07/08/2014
473 Y                      NY       Liberty Power 607     3043103    07/02/2014
    Y         Yakima       WA       "Liberty                         06/28/2014   We have never heard of this supposed power company - it is not one we have ever used. Looking it up online, "Liberty Power Company" appears to be a power company on
474                                 Power                                         the east coast (including Washington DC) - we live in Washington STATE. We suspect the caller took a wild guess that we lived in DC. Caller told us to "use more power
                                    Company"                                      because our rate is going down." By the sound of the caller, it was the same "technical support" people that called 5 minutes ago.
475 Y         Oneonta      NY       Liberty Power 585     9783772    06/23/2014
    Y         Greene       NY       Liberty Power 866     7693799    06/11/2014   The name of the person that called was "David Silva". He promised a kw hour rate freeze. He said that the call was being recorded. He refused to provide a contact
476
                                                                                  telephone number.
477 Y         owego        NY       Liberty Power 585     4712849    06/10/2014   i told rude liberty power rep who kept interrupting me that i was on a do not call registery. she they were given phone#s that they call every day and she hung up on me.
    Y         palisades    NY       liberty power 877     2899925    06/06/2014   i have reported this number and company NUMEROUS times on your site and i see it does no good. this number from liberty power has called me at least 20 times and refuse
478
                                                                                  to stop. eventhough i have complained on the dnc.gov site numerous times as well.
      Y       Columbia     MD       Liberty Power 877     2899925    06/04/2014   I was unable to ask to be put on the Do Not Call list. I tried. I DID FOLLOW the directions on their website but was UNABLE to reach ANYONE who could put us on Do Not
                                    Corp                                          Call. Their Directions are as follows: "We respect your right to privacy. To be placed on the Liberty Power Do Not Call list, please call us at 866-POWER-99 (866-769-3799)
479                                                                               and we will fulfill your request. If you prefer, send an e-mail to info@libertypowercorp.com with Do Not Call in the subject line and include your name, name of business (if
                                                                                  commercial service customer), as well as all applicable account numbers and phone numbers in the body of the message. We will process your request within 48 hours."
                                                                                  There is no way to get to anyone with our Do-Not-Call request at this number.
480 Y                      NY       Liberty Power 585     4712849    06/03/2014
481 Y         petersburg   NJ       liberty power 732     7846633    05/27/2014
    Y         Rensselaer   NY       Liberty Power 397     3177591    05/24/2014   This call came in at 4:42 PM on Friday May 23,2014. The person identified himself as Jack. I asked him his phone number and he gave a different number than my caller ID -
482
                                                                                  800-642-7591. I told him I was on the DO NOT Call registry and to not call me anymore. This same company has called before and I told not to call anymore.
      Y       Chatham      NJ       Liberty Power                    05/15/2014   As soon as I asked where they got our number and said we were on the Do Not Call Registry the caller cut me off without giving me the opportunity to ask them not to call again.
483
484   Y       Brick        NJ       Liberty Power   732   4918208    05/13/2014
485   Y       Brick        NJ       Liberty Power   732   4918208    05/12/2014
486   Y       brick        NJ       liberty power   732   4918208    05/12/2014
487   Y       Lakewood     NJ       Liberty Power   732   4918209    05/09/2014
488   Y       Lakewood     NJ       Liberty Power   732   4918209    05/09/2014
      Y       New          NJ       Liberty Power   860   5166030    05/06/2014   This call was the third in a 2 week span. They had been told very explicitely not to call again.
489
              Brunswick
490 Y         Atlanta      GA       Liberty Power 877     2899925    05/05/2014
    Y         Bayville     NJ       Liberty Power 888     5315591    05/01/2014   The man told me I don't understand the DO NOT CALL rules and was very rude. He didn't like me questioning him as to how he called me. He said he just has the computer
491                                                                               connect him he doesn't dial . I get calls at least every few days about switching my electric service. At times its a recorded message.Most of them hang up when I ask the
                                                                                  company name.
492 Y         smithville   NJ       liberty power 609     5037003    04/28/2014   please have these people stop calling me.
                                                   Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 21 of 23
          A        B               C          D          E        F         G                                                                                                   H
      Y       Monroeville     NJ       Liberty Power 609     5037003   04/27/2014   The person called and asked if I was the person responsible for paying the utility bills in the household. I asked who they were and why were they were calling. The person (a
493                                                                                 female) replied that they represent Liberty Power. I told her that I'm on the do not call list and they shouldn't be calling me. She said that she knows that I'm on the do not call
                                                                                    list and apologized but thought I might be interested anyway. When I informed her that I was going to file a complaint she hung up. This is a clear violation.
      Y       Westport,       CT       liberty power 860     5166030   04/24/2014   I have been called repeatedly during the day and at night by this number/company. Most times I do not answer the phone but 3 times I have answered and asked to be taken
                                       company -                                    off the list. I asked for the caller today - Paul Sheldon and asked to speak to the manager. I was told the manager was not available and the person hung up. I tried to call the
494                                    bristol, CT                                  company and was put on hold for over 5 minutes - after which time I hung up. The Liberty Power website for NY says there are phone problems and ask for caller information
                                                                                    to be completed in the website. I have a website for my phone service that will show each time a call came in and time and number of the call if that is needed. These calls
                                                                                    are very disruptive and intrusive. Help me stop this aggravation.
      Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
495
                                                                                    customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
      Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
496
                                                                                    customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
      Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
497
                                                                                    customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
      Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
498
                                                                                    customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
      Y                       NJ       Liberty Power 914     3687042   04/15/2014   I looked up their information. They call my house regularly after asking to stop phone calls. I am not a customer, I must be on some list of theirs.
499
                                                                                    customercare@libertypowercorp.com Phone Toll Free: 1-866 POWER-99 (1–866–769–3799) 1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309
      Y       Chestertown MD           liberty power 410     4065034   04/11/2014   received call at approximately 423 pm. Asked to be taken off call list - Too late - they had already call - should have never call - ie. DO NOT CALL list.......Please do what
500
                                                                                    you can to stop ALL unsolicited calls.
501 Y                      MD          Liberty Power                   04/09/2014   These people have been auto dialing me for several weeks
502 Y         Owings Mills MD          Liberty Power 888     5315596   04/04/2014
    Y         Rye          NY          Liberty power 760     5140144   04/04/2014   I asked them to stop calling as the number was on the do not call list and was told the number was not on the list. I asked to speak to a supervisor and was told the same
503
                                                                                    thing. advised that I was filing a complaint
504 Y                    NJ            liberty power 240     4373606   04/02/2014   I never ask for this services the calling person name is Noel Rodriguez
    Y         Washington DC            Liberty Power 866     7693799   04/02/2014   Telemarketer called asking for our current electric company provider and stating that we needed to renew with his company immediately to avoid service interruption. He said
505                                    Corp.                                        the call was being recorded at the beginning of the conversation, making himself sound like a debt collector that we had to listen to. He said his name was Ben Gomez. He
                                                                                    provided a company number of 888-531-5596. Our Caller ID said 410-406-5034.
      Y       Washington DC            Liberty Power 202     3707463   04/01/2014   I told the woman when she called I was not interested. She became angry and said she would keep calling. The woman called my house an additional two times at 10:30 am
506
                                                                                    and 10:29 am, hanging up both times. Originally, when this company first called I mentioned we were not interested, and we were on the Do Not Call Registry.
507 Y                         DC       Liberty Power                   04/01/2014
    Y                         NJ       Liberty Power 250     4373606   03/28/2014   So sick of this!! I have contacted my representative, Rodney Frelinghuysen, to see if anything is being done about this. EVERY DAY I get some kind of telemarketing call.
508
                                                                                    STOP IT!!!!!
509 Y                         DC       Liberty Power 202     3707463   03/26/2014   I have asked this company repeatedly to take me off their list. They have not.
    Y         Morris          IL       Liberty Power 618     3270430   03/24/2014   Liberty Power called both of my phone lines within 2 minutes of each other. I have previously spoken with Liberty Power and told them that I am on the DNC list and they
510
                                                                                    should not call me again in the future.
      Y       Morris          IL       Liberty Power 618     3270430   03/24/2014   Liberty Power called both of my phone lines within 2 minutes of each other. I have previously spoken with Liberty Power and told them that I am on the DNC list and they
511
                                                                                    should not call me again in the future.
      Y       palisades       NY       liberty power 877     2899925   03/24/2014   liberty power has called me at least 15 times after i have been enlisted on the do not call list and after i have repeatedly told them to stop calling me!! i cant take it. they call
512
                                                                                    constantly. It is always from an overseas call center where i can barely understand them. I NEED THIS TO STOP
      Y       Washington DC            Liberty Power 202     3707463   03/20/2014   the caller asked for, "the person who pays the electric bill." when I asked who was calling, he said Liberty electric Company, licensed to do business in DC - and replied, did
513
                                       Company                                      you know we are on the Do Not Call List and it is illegal to solicit business by phone to numbers on the Federal List. he apologized but was clueless
      Y       Mattoon         IL       Liberty Power                   03/17/2014   The Caller identified himself as Gary Bernhardt representing Liberty Power offering an electric rate of $0.08369/KWH. He inquired my electric Billing company and Supply
                                                                                    company. (I did NOT supply an account number and have contacted my electric supplier)He stated that it was "Green Power" and ICC Certified. There were numerous voices
                                                                                    in the background. He did Not give a telephone number and I did not ask. This is the First time this company has called me. Just before I hung up, I told him that I was on the
514
                                                                                    DO-NOT-CALL registry, and he stated that he would enter that information with the company. The call was between about 3:00 and 4:00 PM CDT March 17, among the
                                                                                    POLITICAL, pre-recorded "vote for" calls that (unfortunately) are allowed. By your database, my telephone number has been on the DO-NOT-CALL list since October 18, 2007.

515 Y         Washington DC            Liberty Power                   03/13/2014
    Y         Washington DC            Liberty Power 292     8172946   03/12/2014   The call was from out of the area and the telephone number is obviously not that of the company. I found its actual telephone number and address on line: (866) 769–3799,
516
                                       Corp.                                        1901 W Cypress Creek Rd., #600 Fort Lauderdale, FL 33309. They were trying to sell me on the idea of switching power companies.
      Y                       DC       Liberty Power 202     8172946   03/12/2014   This was pure marketing solicitation and I am on the do not call list. This is harassament
517
                                       company
      Y       horseheads NY            liberty power 732     8135546   03/07/2014   This company called me in regards to switching my bill, I stated that I was a consultant for a competitor of theirs and the person on the phone got very defensive. After a short
                                       holdings, llc                                discussion of what I was getting, I asked him to please take my number off his list and hung up. About 2 minutes later, I received a return call from the same person with a very
518
                                                                                    sarcastic message and that I was pushing a scam on people. Please follow up with their business etiquette on the phone and have them take my number off their list.

      Y                       NJ       Liberty Power   908   8290084   03/05/2014   The company calls my home phone and hangs up when you answer so that you will call and see who it is. Then they answer saying that I called them. More and more
                                       but caller ID                                companies are doing this to avoid the fines associated with the do not call registry but they are still soliciting and I have never done business with them.
519                                    shows name
                                       of Diane
                                       Krencik
520   Y       ellicott city   MD       Liberty Power   877   2899925   03/04/2014
521   Y       Morris          IL       Liberty Power   618   3270430   02/26/2014   I spoke with Bobby Bradshaw, who attempted to convince me to buy electric power from Liberty Power instead of my current electric supplier.
522   Y       Bethalto        IL       Liberty Power                   02/24/2014   Have ask them to stop call.
523   Y                       IL       liberty power                   02/20/2014
524   Y                       IL       Liberty Power   618   3013423   02/05/2014
525   Y                       IL       Liberty Power   866   7693799   01/30/2014
      Y       Fleetwood       PA       Liberty Power   866   7693799   01/31/2014   Todays call was from "Cain Dcosta" 877-436-7162. He is a sales agent for Liberty and claims to have not phoned previously. It is apparent that they are moving my number
                                                                                    between their 5 marketing centers in India. Liberty Power is an Electricity Utility provider of deceptive practice at best. After overcharging me for services they continue to solicit
526
                                                                                    even though I cancelled them as my service provider over a year ago. They even denied receipt of my cancellation letter and entered a renewal on my behalf. Very
                                                                                    DECEPTIVE COMPANY.
527 Y         Hull         IL          Liberty Power 618     3013423   01/30/2014
    Y         New          PA          Liberty Power                   01/27/2014   I have told this company three times now to take me off their call list. I told them I was going to file a complaint after the second call a few months ago and they called me again!!
528
              Bethlehem
529 Y         Gaithersburg MD          Liberty Power 877     2899925   01/24/2014   They keep calling and there is a long delay with them saying 'hello?, hello?' and then they hang up on me. I've told them to remove us from their list during the delay.
                                                Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 22 of 23
          A        B            C          D          E        F         G                                                                                                H
      Y       New York     NY       Liberty Power 877     2899925   01/23/2014   They are an alternative power company - their robo calls come way too frequently. Since I don't pay for electricity where I live, their calls are ludicrous and a waste of their time.
530
                                                                                 Not, that I would ever do business with them
531   Y                    PA       Liberty Power   877   2899925   01/23/2014   They keep calling 2- 3 times a week to solicit.
532   Y                    MD       Liberty Power   877   2899925   01/16/2014   This is at least the third time I have reported this company. Calling my cell.
533   Y                    PA       Liberty Power   877   2899925   01/10/2014   This company keeps calling using an auto dialer. You then wait for the live person to pick up.
534   Y                    PA       Liberty Power   877   2899925   01/08/2014   This company has called multiple times. I have already reported them weeks ago. What gives?
535   Y       Aledo        IL       Liberty Power                   01/06/2014   The caller identified himself as John Burke.
      Y       new york     NY       LIBERTY                         01/06/2014   These people keep calling. I keep asking them to stop and to remove my name from their list. it interrupts my work day and is a total nuisance. What will stop this. Caller voices
536
                                    POWER                                        sound out-sourced to India. sometimes, callers sound more US-based. I don't care where the person is from. No number appears on caller ID.
537 Y                      MD       Liberty Power   667   4011478   12/19/2013
    Y                      PA       Liberty Power   877   2899925   12/12/2013   They have foreigners calling non-stop. Please do something about it. This is the third call I have received in less than a week. Hit them with a drone strike or something.
538
                                                                                 Thanks.
539 Y                      MD       Liberty Power   667   4011478   12/12/2013
540 Y         smithsburg   MD       liberty power   866   7693799   12/12/2013
541 Y         smithsburg   MD       liberty power   866   7693799   12/12/2013
    N         Larchmont    NY       Liberty Power   866   7693799   12/11/2013   They have called me three times in the last month. The caller ID says "blocked" and they are using offshore telemarketers. However they all indicate that they are calling on
542
                                                                                 behalf of Liberty Power
543 Y                      PA       Liberty Power   877   2899925   12/10/2013   They called again yesterday, 12/9/13.
544 Y         new york     NY       Liberty Power   877   4367162   12/06/2013
545 Y                      NY       liberty power   877   2899925   12/04/2013   i already have reported this company. this is the fourth time they have called me in the past two days and i told them i am on the DNC list. i want it to end
    Y         New York     NY       liberty power   866   7693799   12/03/2013   Liberty Power is one of hundreds of companies which are selling "discounts" on electricity. Every month I get a dozen calls from these companies, despite the fact that my
546
                                                                                 phone number has been on the DNC list for years. Does the do-not-call list have any teeth? Is there any enforcement?
      Y                    IL       liberty power 815     4759390   11/22/2013
547
                                    co.
548 Y         Mokena       IL       Liberty Power 973     2737843   11/18/2013
    Y         OHIO         IL       LIBERTY                         11/17/2013   THEY ALL ABOUT EVERYDAY . WANT YOU TO SWITCH ELECTRIC OWER CO
549
                                    POWER
      Y       galva        IL       liberty power                   11/15/2013   The liberty power phone number is 866 769 3799. I don't have caller ID so don't know what number they called from. The man gave his name as jeff and was from liberty
550
                                                                                 power. It was in the afternoon around 3:30 to 4:30 on the 14 of november.
551 Y                      MD       Liberty Power 877     2899925   11/14/2013   Fourth Time Reporting
    Y         Towson       MD       Liberty Power 877     2899925   11/12/2013   This is at least the third time they have called my cell, which is registered on do not call, even though it does not have to be. If you look up this phone number (877) 289-9925,
552
                                                                                 you will see many others who are complaining about them as well.
553 Y                      IL       Liberty Power 618     5375679   11/05/2013
554 Y         Bethesda     MD       Liberty Power 877     2899925   11/06/2013
    Y         Lebanon      IL       Liberty Power 618     5375679   11/05/2013   Telemarketer wanting me to switch to Liberty Power. Obviously in Illinois the Do Not Call List means nothing to telemarketers. Caller ID indicated "LEBANON IL" so the phone
555
                                                                                 number is probably spoofed. Liberty Power is located in FLA.
556 Y                      MD       Liberty Power 877     2899925   11/01/2013   This is my cell, and this is the second time they have called, and the second time I have reported it to you.
    Y         SMITHSBUR MD          LIBERTY       866     7693799   10/30/2013
557
              G                     POWER
      Y       Brooktondale NY       Liberty Power                   10/29/2013   Please prosecute. I asked if the company checked the do not call list, and the caller said that they did not. Prosecute, or the registry is useless.
558
559 Y                    IL         Liberty Power 815     4759390   10/23/2013
560 Y                    MD         Liberty Power 877     2899925   10/24/2013
    Y         Wyomissing PA         Liberty Power                   10/24/2013   Liberty Power (and their affiliates) have called us at least 100 times on our business phone numbers. Our office is small, but they have called each of our lines for the past
                                                                                 several months. We continue to tell them to stop calling us. After doing some research, they have also been harassing others. We tell them to stop calling, and then we hang
561
                                                                                 up. Not 1 minute later, we get another call. They must be getting paid to just keep calling. That must be their incentive. Liberty Power, and their calling affiliates, are scam
                                                                                 artists.
      Y       Beecher      IL       Liberty Power 815     4759390   10/23/2013   This is the first known call I have received from this company. I did let them know I was on the do not call list and would be filing a complaint. I assume that is the same as
562
                                                                                 letting them know to stop calling.
563 Y         Ottawa       IL       Liberty Power 815     4759390   10/22/2013
564 Y         Marengo      IL       Liberty Power 773     3090162   10/21/2013   Sounds like a scam, guy said was calling from Dominican Republic when finally answered it after multiple calls over course of a few days. Despite Chicago area code.
    Y         Marengo      IL       Liberty       773     3090162   10/21/2013   Lou's son (me) Lance Boyd answered finally after days consecutive of them calling and found out guy's name calling and he claimed it was "Rob Winter" and said company he
                                    Power- Rob                                   was calling for was Liberty Power. He said he was calling out of he Domincan Republic when I asked where he was out of. He said the company was in IL. Sounds like a
565                                 Winter                                       scam. I told him why are you a 773 Chicago area area code if calling from Dominican Republic? Spoofing? Tricking caller ID? He had no answer. Might want to pass along
                                                                                 to FEDS sounds like a scam posing as power company savings switch sales pitch. Or Liberty Power if it exists is using out of country telemarketers to avoid US law. They
                                                                                 should be fined if true and exist. Or have FBI investigate this likely scam.
566 Y         Washington IL         liberty power   217   6154126   09/26/2013   I have asked numerous times for them to take me off the list...I am so tired of this.
    Y         danville   IL         liberty power   888   5315596   09/20/2013   we tell them to stop calling and every day they call back, dawn ray x 101
567                                 choice
                                    consultants
568 Y         Elmira       NY       Liberty Power   866   7693799   09/17/2013
    Y         North East   MD       Liberty Power   410   4175321   09/13/2013   This is at least the third time that they have called my house.
569
                                    Corp
570 Y         Washington IL         Liberty Power   618   5030722   09/11/2013   what happened to the law that no soliciting? It's still happening.
    Y         Peoria     IL         Liberty Power   312   4488590   09/11/2013   Brianna Sanchez with Liberty Power, her direct line is 855-506-1442 ext 1900 Calling about switching power companies. I have told them to NOT call my REGISTERED do
571
                                                                                 NOT call number.
572 Y         Crystal Lake IL       Liberty Power 773     3090162   09/11/2013   Not interested in lowering rates and requested that 'Edwin' remove our number from their call list.
    Y         Bloomington IL        Liberty Power 312     4488590   09/10/2013   Calling regatding lowering my electric rates. I never received any similar calls until our city council approved a consolidated rate program earlier this year. Received a call from
573                                                                              them last week, and told them do not call back, and pointed out I am on the national do not call list. They responded that they would add me to the Illinois Electric Program do
                                                                                 not call list, whatever that bogus crap is supposed to be.
      Y       Peoria       IL       Liberty Power 312     4488590   09/09/2013   Telemarketer wants me to call him "back" at 855-506-1442. I am on do NOT call list, have never done biz with them, and do NOT want to. This is another power company
574
                                                                                 wanting me to switch providers. NOT interested!
      Y       Monmouth     NJ       Liberty Power 866     7693799   09/06/2013   Shows as unavailabe
575
              Junction
                                                   Case 1:18-cv-10506-ADB Document 109-1 Filed 11/14/18 Page 23 of 23
          A       B                C          D              E       F          G                                                                                               H
      Y       champaign       IL       Liberty Power                       08/30/2013   The Illinois Commerce Commission has authorized many new companies to offer electric service however, several are violating the do-not-call law in an effort to sign up new
576
                                                                                        customers. This is at least the third I have been contacted by and I have registered a complaint with the ICC too.
577 Y                         MD       Liberty Power 443         5903224   08/29/2013
578 Y         Elkton          MD       Liberty Power 888         5315596   08/28/2013   We get scads of robo calls, but don't have caller ID to complain about them. This guy's given name is Jabari. Website given was libertypowercorp.com
    Y         Urbana          IL       Liberty Power 888         5315596   08/26/2013   Does anyone actually follow up on these complaints? I have the feeling my reports are being filed in a black hole. I'm getting an increasing number of unwanted calls, despite
579
                                                                                        my listing in the do-not-call registry.
580 Y         Barnegat        NJ       Liberty Power 000         0000000   08/24/2013   They ignor reqsuest to stop calling.
    Y         Mount           IL       Liberty Power 217         6345066   08/22/2013   I have asked this comkpany no to call me on several ocassions. Can you please stop this herassment.
581
              Vernon
582 Y         Sparta          NJ       Liberty Power 773         3090162   08/20/2013   How can I receive compensation from this company for calling me?
    Y         Sparta          NJ       Liberty Power                       08/18/2013   Liberty Power called also on Aug. 10 in the afternoon. I told them then I was on the No Call List and they were NEVER to call again. At that call the person was unclear as to
583
                                                                                        whether he was calling from Chicago or Ft Lauderdale (hum !) We have been getting a tremendous number of calls from power brokers.
584 Y         Hopatcong       NJ       Liberty Power 773         3090162   08/14/2013   I spoke to Michael Delancy and he said we would take me off their list. I have asked this company multiple times to do this and they have not.
    Y                         MD       Liberty Power                       08/12/2013   Caller asked to speak with person who handles electric bill. I asked who was calling. He stated he was calling from Liberty Power and had a fixed rate energy offer for
585                                                                                     customers of the electric company we use. I told him we were happy with our electric service he responded with a hard sell speech. After several attempts to politely decline
                                                                                        the offer, I hung up on him.
      Y       Sewell          NJ       Liberty Power 773         3090162   08/07/2013   A live person with a thick accent said his name was "Andrew Smith" calling from Liberty Power asking for the person responsible for the electric bills and pitching "clean
586
                                                                                        energy". Caller ID read "Unknown Name". Told him he was in violation of the DNC and that I was reporting their violation before hanging up.
587   Y       flemington      NJ       Liberty Power   877       4367162   08/05/2013
588   Y                       NJ       liberty power   877       4367162   07/31/2013
589   Y                       IL       Liberty Power                       07/29/2013
590   Y       Anna            IL       Liberty Power   309       3627035   07/26/2013
      Y       Salisbury       MD       Liberty Power   813       7490764   07/02/2013   Continues to call after I told them DO NOT call, very rude, persistent, high pressure, said they have a right to call,said they are calling EVERYONE of delmarva power
591
                                                                                        customers even if they are on do not call list.
592   Y       Chicago         IL       Liberty Power   877       4367162   06/25/2013   They called 4 times yesterday and once already today.
593   Y                       IL       Liberty Power   815       6765121   06/06/2013   Caller ID was "Plainfield,IL" regarding electricity choices.
594   Y                       IL       Liberty Power   877       4367162   05/29/2013
595   Y       Titusville      PA       Liberty Power   877       2899925   05/20/2013   this company is relentless
      Y       Crisfield       MD       Liberty Power   410       3949585   05/15/2013   Caller was a male, maybe Caucasian, sounded about thirty-ish. His tone was very argumentative, demanding and rude. I wouldn't give out any personal info. The caller hung
596
                                                                                        up. I could hear several people having conversations in the background.
597 Y                         NJ       Liberty Power 801         8933332   05/13/2013
598 Y         Titusville      PA       liberty power 877         2899925   05/13/2013
599 Y         des plaines     IL       liberty power 773         3090162   05/08/2013   Told me they were not selling anything by not asking for a credit card. thank you.
    Y         Buffalo         IL       Liberty Power                       05/07/2013   I am on the do not call list so this company should not have called. When I told the gentleman I wanted his company to not call me in the future he continued with his pitch.
600           Grove                                                                     When I again told him to not call me he said "but sir, you don't know why I'm calling." I again told him to not call me and he again tried to give me his pitch. I then advised him
                                                                                        I'd file a complaint about his firm with the FTC.
601 Y         Des Plaines IL           Liberty Power 773         3090162   05/07/2013   They also have a toll free number at 866-257-5822 and this is their website: http://www.libertypowercorp.com/ Thank you.
    Y         Northbrook IL            Liberty Power 773         3090162   05/06/2013   "JOE" wanted to talk with the person who pays the "light bill" - I told him that we are on the "do not call list" and that I was reporting this call to the Federal Government -
602
                                                                                        PLEASE stop these calls - I have reported probably more than 20 during the past several weeks
      Y       staten Island NY         Liberty Power 877         2899925   05/06/2013   Liberty Power electric charge lower rate. Keep calling me please stop them. Thank you.
603
604 Y                         IL       Liberty Power                       05/02/2013
    Y                         NJ       Liberty Power 801         8933332   04/29/2013   The call was from overseas, and it was hard to understand the man through his thick indian accent. But, they should not be calling my phone at all. he claimed it was with
605                                                                                     regard to my electric bill. Meanwhile, I don't pay an electric bill (my parents do) and we do not have Liberty Power. Even if we did, they wouldn't be calling my cell phone. This
                                                                                        is ridiculous. They're lying now.
      Y       Galena          MD       Liberty Power 410         3465108   04/29/2013   This number may have be a private house since my ID on the phone said it was from Silver Run, MD. She represented Liberty Power. However she said she was from Liberty
                                                                                        Power and wanted me to tell her about my electric power usage by giving information from electric bill. When I told her I was not interested in changing power companies, she
606
                                                                                        became insistent I read her the information. We have Choptank Electric and she said she could not save us any money there. What a scam! This phone number has been
                                                                                        registered many years with do not call.
      Y       Burlington      NJ       Liberty power 801         8933332   04/29/2013   This company keeps calling me on my cell phone from area code 801 with different numbers, I have told them to stop calling but everyday I still get another call, I need them to
607
                                                                                        stop.
608   Y       Northbrook      IL       Liberty Power   866       7643799   04/23/2013
609   Y       Vernon Hills    IL       Liberty Power   773       3090162   04/20/2013   I have reveived several calls from this number over the past few weeks.
610   Y       Elkton          MD       Liberty Power   888       5315596   04/15/2013   The person I spoke with, Alex Sinclair, said if my number was on the Do Not Call List he wouldn't be calling me.   They have been calling almost every day for over 2 weeks.
611   Y       saint charles   IL       liberty power   866       7697399   04/12/2013   They called before, I told them not to call again
612   Y       Wheaton         IL       Liberty Power   773       3090162   04/12/2013
